                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 1 of 54




                                                                                              1 Elizabeth Berke-Dreyfuss (Bar No. 114651)
                                                                                                WENDEL ROSEN LLP
                                                                                              2 1111 Broadway, 24th Floor
                                                                                                Oakland, California 94607-4036
                                                                                              3 Telephone: (510) 834-6600
                                                                                                Fax: (510) 834-1928
                                                                                              4 Email: edreyfuss@wendel.com

                                                                                              5
                                                                                                Bennett G. Young (Bar No. 106504)
                                                                                              6 JEFFER MANGELS BUTLER & MITCHELL LLP
                                                                                                Two Embarcadero Center, 5th Floor
                                                                                              7 San Francisco, California 94111-9813
                                                                                                Telephone: (415) 398-8080
                                                                                              8 Fax: (415) 398-5484
                                                                                                Email: byoung@jmbm.com
                                                                                              9

                                                                                             10 Attorneys for Susan L. Uecker, Receiver

                                                                                             11

                                                                                             12
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13                              UNITED STATES DISTRICT COURT
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14                           NORTHERN DISTRICT OF CALIFORNIA

                                                                                             15                                 SAN FRANCISCO DIVISION

                                                                                             16

                                                                                             17 SECURITIES AND EXCHANGE                      Case No. 3:17-CV-00223-RS
                                                                                                COMMISSION,
                                                                                             18            Plaintiff,
                                                                                             19         vs.
                                                                                                                                             RECEIVER’S PROPOSED PLAN OF
                                                                                             20 SAN FRANCISCO REGIONAL CENTER, LLC;          DISTRIBUTION
                                                                                             21 THOMAS     M. HENDERSON; CALIFORNIA
                                                                                                GOLD MEDAL, L.P.; CALLSOCKET, L.P.;
                                                                                             22 CALLSOCKET     II, L.P.; CALLSOCKET III,
                                                                                                L.P.; COMPREHENSIVE CARE OF
                                                                                             23 OAKLAND,    L.P.; NA3PL, L.P.; WEST
                                                                                                OAKLAND PLAZA, L.P.; CALLSOCKET,
                                                                                             24 LLC;   CALLSOCKET II, LLC; CALLSOCKET
                                                                                                III, LLC; COMPREHENSIVE CARE OF
                                                                                             25 CALIFORNIA,    LLC; IMMEDIA, LLC; and
                                                                                                NORTH AMERICA 3PL, LLC,
                                                                                             26                Defendants,
                                                                                             27                -and-
                                                                                             28 CALLSOCKET HOLDING COMPANY, LLC;

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                                            3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                      Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 2 of 54




                                                                                              1 CALLSOCKET III HOLDING COMPANY,
                                                                                                LLC; BERKELEY HEALTHCARE
                                                                                              2 DYNAMICS, LLC; CENTRAL CALIFORNIA
                                                                                                FARMS, LLC; and JL GATEWAY, LLC,
                                                                                              3
                                                                                                           Relief Defendants.
                                                                                              4

                                                                                              5

                                                                                              6 I.       PROCEDURAL HISTORY

                                                                                              7          On January 17, 2017, the Securities and Exchange Commission (the “SEC”) filed a

                                                                                              8 complaint commencing this matter, alleging that the named defendants had exploited a federal EB-

                                                                                              9 5 visa program by defrauding investors seeking to invest in job creation programs, earn a return on

                                                                                             10 their investments and obtain a permanent U.S. visa as a way towards United States residency.

                                                                                             11 (Docket No. 1).

                                                                                             12          On January 20, 2017, the SEC filed a motion seeking, among other things, an order
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 appointing a receiver over the entity defendants and relief defendants. The Court entered the
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14 Order Granting Motion for Preliminary Injunction and to Appoint a Receiver on March 23, 2017,

                                                                                             15 pursuant to which the Court, among other things, appointed Susan L. Uecker as Receiver

                                                                                             16 (“Receiver”) over defendant San Francisco Regional Center, LLC (“SFRC”), as well as a majority

                                                                                             17 of the entity defendants and relief defendants, and as Monitor over certain of the remaining entity

                                                                                             18 defendants and relief defendants. (Docket Nos. 96, 100). On June 5, 2017, the Court entered its

                                                                                             19 Order Extending Scope of Receivership, appointing Susan L. Uecker as Receiver over the monitor

                                                                                             20 defendants and relief defendants. (Docket No. 171).

                                                                                             21          On February 28, 2019, the Receiver filed her Motion for Order Consolidating Receivership

                                                                                             22 Entities for Purposes of Distribution. (Docket No. 561). On June 3, 2019, the Court entered an

                                                                                             23 Order Re Pending Motions, Docket Nos. 561, 574, 600, And 601, granting, among other things,

                                                                                             24 the Receiver’s motion, consolidating substantially all of the entity defendants and relief defendants
                                                                                                                                                   1
                                                                                             25 for purposes of distribution under a proposed plan. (Docket No. 622).

                                                                                             26
                                                                                                  1
                                                                                                 By order entered on May 31, 2019, defendant Comprehensive Care of Oakland, L.P. (“CCOO”)
                                                                                             27
                                                                                                was voluntarily dismissed from this action and on that same date, a Final Judgment was entered
                                                                                             28 against Comprehensive Care of California (“CCOC”); thereafter, by order entered on June 20,

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                      2                                  3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                      Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 3 of 54




                                                                                              1          Under the Receiver’s Plan of Distribution, both creditors of Defendant CCOO and EB-5

                                                                                              2 investors in defendant CCOO shall not receive any distribution on account of their investment,

                                                                                              3 capital contribution or claim because each of their respective claims have been assumed by CCOO

                                                                                              4 pursuant to the terms of a Court approved Settlement Agreement between the Receiver and Shirley

                                                                                              5 Ma (“Ma”). Ma is the 50% owner/member of CCOC, and CCOC is the general partner of CCOO.

                                                                                              6 Under the Settlement Agreement, Ma purchased SFRC’s 50% membership interest in CCOC and

                                                                                              7 became the sole owner/member of CCOC. Pursuant to Paragraph 8.1 of the Settlement

                                                                                              8 Agreement, as part of exiting the receivership, CCOO assumed all of the pre and post receivership

                                                                                              9 contracts and liabilities of CCOO, which included the obligations owing to CCOO’s limited

                                                                                             10 partners of, or EB-5 investors in that entity defendant. The Court approved the Settlement

                                                                                             11 Agreement between the Receiver and Ma by order entered on April 4, 2019 (Docket No. 583) and

                                                                                             12 entered the order terminating the receivership as to CCOO (and CCOC) on June 20, 2019 (Docket
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 No. 630).
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14          Similarly, none of the creditors of BHD shall have their claims paid through the Receiver’s

                                                                                             15 Plan of Distribution. The Order Terminating Receivership As To Berkeley Healthcare Dynamics,

                                                                                             16 LLC provided that claims filed solely and exclusively against BHD by East West Bank, Kevin

                                                                                             17 Shimamoto, Clement Chin and Jennifer Bronson would be solely the responsibility of BHD, and

                                                                                             18 upon termination of the receivership, the remaining Receivership Entities shall have no liability on

                                                                                             19 account of those claims (Docket No. 633).

                                                                                             20 II.      PLAN DEFINITIONS

                                                                                             21          1.      “Administrative Cash Reserve” means the amount of funds from the Plan Fund that

                                                                                             22 the Receiver shall retain as undistributed funds for purposes of paying potential tax liabilities,

                                                                                             23

                                                                                             24 2019, the receivership was terminated at to both defendants CCOO and CCOC, and the Receiver

                                                                                             25 discharged. (Docket Nos. 620, 630). On June 27, 2019, a Final Judgment was entered as to
                                                                                                Berkeley Healthcare Dynamics, LLC (“BHD”), and thereafter, by stipulation and order entered on
                                                                                             26 that same date, the receivership was terminated as to BHD, and the Receiver discharged. (Docket
                                                                                                Nos. 633, 634). As a result of the previously entered orders, the order granting the Receiver’s
                                                                                             27 Motion for Order Consolidating Receivership Entities for Purposes of Distribution, consolidated
                                                                                                all entity defendants and relief defendants other than CCOO, CCOC, and BHD.
                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       3                                   3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 4 of 54




                                                                                              1 expenses to wind down the Consolidated Receivership Estate, and for other unanticipated costs of

                                                                                              2 the Receivership.

                                                                                              3          2.      “Administrative Claims” means accrued and unpaid fees and expenses of the

                                                                                              4 Receiver and the professionals she retained, costs of administration of the Consolidated

                                                                                              5 Receivership Estate, and any other Claim allowed as an Administrative Claim by order of the

                                                                                              6 Court.

                                                                                              7          3.      “Allowed Claim(s)” means a claim(s) by an EB-5 Investor or Claimant that the

                                                                                              8 Receiver has determined is represented by a valid invoice, receivable, right to payment, interest in

                                                                                              9 or debt against the Consolidated Receivership Entities supported by the submissions of the EB-5

                                                                                             10 Investor or Claimant, the books and records of the Consolidated Receivership Entities, or other

                                                                                             11 sources of information reasonably available to the Receiver or which has been allowed by order of

                                                                                             12 the Court. “Allowed Claim(s)” will be classified under this Plan as Administrative Claims,
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 Priority Claims, Unsecured Creditor Claims, EB-5 Investor Claims, SEC Claims, and Equity
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14 Claims. “Allowed Claim(s)” also includes any late-filed Claim approved by the Receiver or by

                                                                                             15 order of the Court.

                                                                                             16          4.      “Appointment Order” means the Order Appointing Receiver and Monitor entered

                                                                                             17 on March 29, 2017 (Docket No. 100) entered in the Case by the Court, a true and correct copy of

                                                                                             18 which is attached hereto as Exhibit 1.

                                                                                             19          5.      “Avoidance Action” means any cause of action, or defense against an action, to

                                                                                             20 avoid or recover a transfer of property of the entity defendants or relief defendants or the

                                                                                             21 Consolidated Receivership Estate, including actions, or defenses arising under applicable federal,

                                                                                             22 state or common law.

                                                                                             23          6.      “Case” or “this Case” means the litigation commenced on January 17, 2017, styled

                                                                                             24 Securities and Exchange Commission v. Thomas M. Henderson, et al., Case No. 3:17-cv-00223-

                                                                                             25 RS, pending before the United States District Court for the Northern District of California, San

                                                                                             26 Francisco Division.

                                                                                             27          7.      “Cause of Action” means a claim, right, action, chose in action, suit, or judgment,

                                                                                             28 belonging to the entity defendants and/or relief defendants and/or the Consolidated Receivership

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       4                                  3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 5 of 54




                                                                                              1 Estate and any and all claims to recover liabilities, obligations, and debts owing to the entity

                                                                                              2 defendants and/or relief defendants and/or the Consolidated Receivership Estate, whether arising

                                                                                              3 prior to or after March 23, 2017.

                                                                                              4          8.     “Claim” means (i) a right to payment, whether or not such right is reduced to

                                                                                              5 judgment, liquidated, unliquidated, fixed, contingent, matured, disputed, undisputed, legal,

                                                                                              6 equitable, secured or unsecured, or (ii) the right to an equitable remedy for breach of performance

                                                                                              7 if such breach gives rise to a right to payment, whether or not such right to an equitable remedy is

                                                                                              8 reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or

                                                                                              9 unsecured.

                                                                                             10          9.     “Claimant” means a person, other than an EB-5 Investor Claimant, who holds a

                                                                                             11 Claim and the SEC.

                                                                                             12          10.    “Claims Agent” means the Receiver herein, Susan L. Uecker, and is used
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 interchangeably with the Receiver.
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14          11.    “Claim Objection” means a written objection served by the Receiver on any person

                                                                                             15 or entity for which the Receiver disputes the Claim filed. The Receiver may also object to any

                                                                                             16 request for payment or transfer of assets even if a formal Proof of Claim was not filed. All Claim

                                                                                             17 Objections shall be resolved pursuant to Order (1) Approving Proposed Claim Form for Non-EB-5

                                                                                             18 Investment Claims Against Receivership Entities; (2) Setting a Claims Bar Date for Submission of

                                                                                             19 Non-EB-5 Investment Claims; (3) Establishing Summary Procedures for Resolution of Disputed

                                                                                             20 Claims (“Claims Order”) (Docket No. 482), a true and correct copy of which is attached hereto as

                                                                                             21 Exhibit 2.

                                                                                             22          12.    “Commission” or “SEC” means the Securities and Exchange Commission, plaintiff

                                                                                             23 in the Case.

                                                                                             24          13.    “Consolidated Receivership Entities” means defendants San Francisco Regional

                                                                                             25 Center, LLC; California Gold Medal, L.P.; Callsocket, L.P.; Callsocket II, L.P.; Callsocket III,

                                                                                             26 L.P.; NA3PL, L.P.; West Oakland Plaza, L.P.; Callsocket, LLC; Callsocket II, LLC; Callsocket

                                                                                             27 III, LLC; Immedia, LLC; and North America 3PL, LLC and relief defendants Callsocket Holding

                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       5                                  3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 6 of 54




                                                                                              1 Company, LLC; Callsocket III Holding Company, LLC; Central California Farms, LLC; and JL

                                                                                              2 Gateway, LLC.

                                                                                              3          14.    “Consolidated Receivership Estate” means the assets and property, in whatever

                                                                                              4 form, of or from the Consolidated Receivership Entities.

                                                                                              5          15.    “Court” means the United States District Court for the Northern District of

                                                                                              6 California, with jurisdiction over the Case.

                                                                                              7          16.    “Disallowed Claims” include Claims, whether or not formally and timely filed: (i)

                                                                                              8 for management fees, syndication fees and/or late fees; (ii) for the guarantee of a debt or financial

                                                                                              9 obligation of any of the Consolidated Receivership Entities; (iii) for the guarantee of a debt or

                                                                                             10 financial obligation in connection with an EB-5 investment or capital contribution by an EB-5

                                                                                             11 Investor; (iv) that have been disallowed by an order of the Court; (v) for interest, consequential

                                                                                             12 damages, punitive damages or other penalties; (vi) filed with the Receiver after November 26,
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 2018 that has not been accepted by the Receiver or expressly allowed by an order of the Court as a
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14 timely filed Claim; and (vii) from an EB-5 Investor who received a return of his or her investment

                                                                                             15 or capital contribution in defendants California Gold Medal, L.P., NA3PL, L.P. and CallSocket

                                                                                             16 L.P. pursuant to the Order Authorizing Receiver (1) To Return Investor Capital Contributions

                                                                                             17 Held In Escrow; And (2) To Pay Fees To Escrow Company (Docket No. 466); (viii) from an EB-5

                                                                                             18 investor for an investment in or capital contribution to CCOO, and/or CCOC; (ix) from any

                                                                                             19 creditor of CCOO; and (x) from any creditor of BHD. Notwithstanding the foregoing, or any

                                                                                             20 other provision of this Plan, the Receiver’s claims against BHD on account of its guaranty of the

                                                                                             21 North American 3PL, LLC Promissory Notes payable to NA3PL, L.P. are not Disallowed Claims

                                                                                             22 and such claims by the Receiver are preserved.

                                                                                             23          17.    “Distribution” means the single or multiple disbursements of money from the

                                                                                             24 Distribution Account or the Consolidated Receivership Entities account to Eligible Claimants

                                                                                             25 pursuant to the Distribution Plan.

                                                                                             26          18.    “Distribution Account” means a checking account or accounts established or

                                                                                             27 previously established by the Receiver to receive or maintain monies from the Consolidated

                                                                                             28 Receivership Entities, and third parties, that are scheduled or intended to be disbursed in

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       6                                  3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 7 of 54




                                                                                              1 accordance with the Distribution Plan. Multiples of such accounts may be necessary to ensure that

                                                                                              2 the entire amount deposited is insured by the Federal Deposit Insurance Corporation.

                                                                                              3          19.    “Distribution Plan” or “Plan” means this Plan of Distribution for the resolution and

                                                                                              4 distribution of funds to pay Administrative Claims, Priority Claims, Eligible Claimants, the SEC’s

                                                                                              5 Claims and the Claims of Equity Holders.

                                                                                              6          20.    "Distribution Plan Notice" means the written notice to EB-5 Investors and

                                                                                              7 Unsecured Creditors that the Plan is approved and they are eligible for a distribution pursuant to

                                                                                              8 this Distribution Plan, unless they receive or have received a Claim Objection. The Distribution

                                                                                              9 Plan Notice will be subject to Court approval.

                                                                                             10          21.    “EB-5 Investor(s)” means a natural person who invested in or made capital

                                                                                             11 contributions to USCIS approved EB-5 New Commercial Enterprise (“NCE”) defendants

                                                                                             12 CallSocket, L.P., CallSocket II, L.P., CallSocket III, L.P., NA3PL, L.P., West Oakland Plaza,
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 L.P., and California Gold Medal, L.P., each of which was sponsored by defendant SFRC. EB-5
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14 Investor(s) exclude investors in or limited partners of CCOO because upon exiting the

                                                                                             15 receivership, CCOO assumed all pre and post receivership contracts and liabilities of CCOO,

                                                                                             16 which included the obligations owing to CCOO’s limited partners and EB-5 investors in CCOO.

                                                                                             17          22.    “EB-5 Investor Claimants” are those individuals who hold an Allowed EB-5

                                                                                             18 Investor Claim.

                                                                                             19          23.      “EB-5 Investor Claims” means Claims filed or asserted by or on behalf of EB-5

                                                                                             20 Investors. EB-5 Investor Claims are limited or capped at the amount of the EB-5 Investor’s actual

                                                                                             21 investment or capital contribution, but in no event shall exceed $500,000. Upon approval of the

                                                                                             22 Plan, EB-5 Investor Claimants equity interests in their respective EB-5 NCE defendant shall be

                                                                                             23 extinguished in exchange for an Allowed Claim against the Consolidated Receivership Estate.

                                                                                             24          24.    “Eligible Claimant” means any EB-5 Investor or Unsecured Creditor with an

                                                                                             25 Allowed Claim.

                                                                                             26          25.    “Equity Claims” means Claims of Equity Holders on account of their equity

                                                                                             27 interests.

                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                      7                                 3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 8 of 54




                                                                                              1          26.     “Equity Holder(s)” means any members, shareholders and/or general partners of

                                                                                              2 any of the Receivership Entities, or any person, other than an EB-5 Investor, asserting an equity or

                                                                                              3 ownership interest in any of the Receivership Entities, including BHD.

                                                                                              4          27.     “Fair Funds” means disgorgement and civil penalties paid to the Commission

                                                                                              5 pursuant to a final judgment or order entered in this Case, that the Commission seeks and obtains

                                                                                              6 Court approval to transfer to the Receiver for distribution to EB-5 Investor Claimants.

                                                                                              7          28.     “Fair Fund Distribution Account” shall mean a checking account established by the

                                                                                              8 Receiver to accept Fair Funds from the Commission, should the Commission seek and obtain

                                                                                              9 Court approval to transfer Fair Funds to the Receiver for distribution to EB-5 Investor Claimants.

                                                                                             10          29.     “Late Filed Claims” means any written non-EB-5 Investment Proof of Claim

                                                                                             11 submitted to the Receiver using the approved claim form(s) after November 26, 2018. Late Filed

                                                                                             12 Claims shall be deemed Disallowed Claims, unless accepted by the Receiver or Court as a timely-
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 filed claim.
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14          30.     “Parties in Interest” means anyone known by or to the Receiver who the Receiver

                                                                                             15 reasonably believes has rights that may be impacted by this Plan.

                                                                                             16          31.     “Plan Fund” means the cash held by the Receiver in a Distribution Account, that is

                                                                                             17 scheduled to be disbursed in accordance with the Distribution Plan for the purpose of paying Class

                                                                                             18 1, Class 2, Class 3, Class 4 and Class 5 Claims as set forth in this Plan.

                                                                                             19          32.     “Priority Claims” means any tax, wage, or other Claims entitled to priority

                                                                                             20 distribution under applicable state or federal law, including without limitation 31 U.S.C. § 3713

                                                                                             21 and any similar state statute.

                                                                                             22          33.     “Receivership Claims” means any legal claims the Consolidated Receivership

                                                                                             23 Entities have or has against third parties.

                                                                                             24          34.     “Receivership Entity” or “Receivership Entities” means any Defendant or Relief

                                                                                             25 Defendant in the Case other than Henderson.

                                                                                             26          35.     “SEC’s Claims” means the claim asserted by the SEC based on its causes of action

                                                                                             27 against the Consolidated Receivership Entities as set forth in the SEC’s Complaint filed in the

                                                                                             28 Case on January 17, 2017,

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       8                                 3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                      Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 9 of 54




                                                                                              1          36.     “Unclaimed Property” means Distributions (i) that are returned to the Receiver as

                                                                                              2 undeliverable and no appropriate forwarding address is received within 90 days after the attempted

                                                                                              3 Distribution by the Receiver is made to such Eligible Claimant; (ii) for which the check making

                                                                                              4 such Distribution is not negotiated within 180 days of its issuance and no request for re-issuance is

                                                                                              5 made within such 180 day period, at which time, such attempted Distribution will be cancelled

                                                                                              6 through a stop payment order or other means; (iii) remaining after the Final Distribution. The

                                                                                              7 Receiver is under no affirmative obligation to attempt to locate any Eligible Claimant.

                                                                                              8          37.     “Unsecured Creditor(s)” means a person, other than an EB-5 Investor Claimant, or

                                                                                              9 entity that hold(s) an Allowed Claim that is an Unsecured Creditor Claim(s).

                                                                                             10          38.     “Unsecured Creditor Claim(s)” means the total amount owed to a Claimant on

                                                                                             11 account of loans agreements, business debts, money judgments that are not EB-5 Investor Claims.

                                                                                             12 III.     ASSETS OF THE CONSOLIDATED RECEIVERSHIP ESTATE
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13          A.      Cash: $27,448,146.73 (as of September 30, 2019);2
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14          B.      Other Assets: 40% interest in BHD and potential litigation claims.

                                                                                             15 IV.      CLAIMS AGAINST CONSOLIDATED RECEIVERSHIP ESTATE

                                                                                             16          A.      Claims Bar Date and Late Claims

                                                                                             17          Pursuant to the provisions of the Claims Order, the Receiver served a notice of claims bar

                                                                                             18 date for Non-EB-5 Investment Claims with an accompanying approved Proof of Claim form on all

                                                                                             19 Claimants, which notice and form set November 26, 2018 (“Bar Date”) as the last date to file

                                                                                             20 claims for all Claimants.

                                                                                             21          In the event that any claims are submitted after the Bar Date, in circumstances where it

                                                                                             22 appears that the Eligible Claimant did not have notice of the Bar Date, the absence of an objection

                                                                                             23 on the basis of untimeliness is not a waiver of any rights of the Receiver to file an objection on

                                                                                             24 any other basis, whether any such claim has been submitted in writing or was submitted on an

                                                                                             25 informal basis before or after the Bar Date.

                                                                                             26
                                                                                                  2
                                                                                                 The Cash amount includes a reserve account in the amount of $316,328.80, which is the subject
                                                                                             27 of disputed lien claims previously against Henderson’s former residence, 666 Mandana Blvd.,
                                                                                                Oakland, California.
                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       9                                  3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 10 of 54




                                                                                              1          The Claims Order provided that any claim submitted after the Bar Date will be barred,

                                                                                              2 except for EB-5 Investor Claims arising from their investment or capital contribution, which were

                                                                                              3 preserved and deferred. Therefore, other than EB-5 Investors, any person or entity seeking to

                                                                                              4 assert a Claim against the Consolidated Receivership Estate after the Bar Date will need to seek

                                                                                              5 leave of Court to do so (unless the person or entity was not sent the notice of claims Bar Date, in

                                                                                              6 which case, the Receiver in her discretion, may accept the late filed claim as a timely filed claim).

                                                                                              7          B.      Objections to Claims

                                                                                              8          The Receiver filed Claim Objection(s) pursuant to the terms of the Claims Order. On

                                                                                              9 October 11, 2019, the Receiver filed a Motion for Order Disallowing Certain Claims, in Whole or

                                                                                             10 in Part (Docket No. 692). On November 19, 2019, the Court entered an Order Granting the

                                                                                             11 Motion to Disallow Certain Claims, in Whole or in Part, as Modified by the Court (Docket No.

                                                                                             12 704).
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13          The Receiver may, in her discretion, file other or additional objections to Claims, and shall
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14 provide notice and an opportunity to respond as may be required pursuant to the Claims Order.

                                                                                             15          If appropriate or necessary, as may be determined in the Receiver’s absolute discretion, the

                                                                                             16 Receiver will file additional motions to seek disallowance of the following non-exclusive

                                                                                             17 categories of claims:

                                                                                             18          •    Claims which have received prior distribution;
                                                                                             19          •    Claims for funds paid to or obligations of non-receivership entities;
                                                                                             20          •    Duplicate claims;
                                                                                             21          •    Late filed Claims not accepted by the Receiver as a timely-filed Claims; and
                                                                                             22          •    Claims to which the Receiver objected in writing and the Claimant did not respond or
                                                                                             23               the Claim Objection has not been resolved.

                                                                                             24          C.      Classes of Claimants

                                                                                             25          The Receiver has categorized Claims into the following classes for purposes of receiving a

                                                                                             26 Distribution under the Plan:

                                                                                             27          Class 1:        Allowed Administrative Claims

                                                                                             28          Class 2:        Allowed Priority Claims

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       10                                 3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 11 of 54




                                                                                              1          Class 3:        Allowed Unsecured Creditor Claims and EB-5 Investor Claims

                                                                                              2          Class 4:        Allowed SEC’s Claims

                                                                                              3          Class 5:        Allowed Equity Holders’ Claims

                                                                                              4          These classes of claims and the proposed treatment of each class are discussed below.

                                                                                              5                  1.      Class 1

                                                                                              6          Class 1 consists of the Allowed Administrative Claims for the Receiver’s fees and costs,

                                                                                              7 the fees and costs of professionals retained by the Receiver, expenses of administration of the

                                                                                              8 Consolidated Receivership Estate and any other Claims that are allowed as Administrative Claims

                                                                                              9 by Court order.

                                                                                             10                  2.      Class 2

                                                                                             11          Class 2 consists of the Allowed Priority Claims. The Allowed Priority Claims will likely

                                                                                             12 consist of tax claims.
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13          Anticipated tax claims that would constitute Allowed Priority Claims are tax liabilities at
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14 both the federal and state levels attributable to the sale of assets after March 23, 2017.

                                                                                             15          No distribution will be made to Classes 3 or 4 until such time as Class 1 and 2 Claims have

                                                                                             16 been paid in full or sufficient reserves are held to ensure payment in full to Classes 1 and 2.

                                                                                             17                  3.      Class 3

                                                                                             18          Class 3 consists of the Allowed Unsecured Creditor Claims and EB-5 Investor Claims.

                                                                                             19          Class 3 Allowed Unsecured Creditor Claims are identified on Exhibit 3A. Class 3

                                                                                             20 Allowed EB-5 Investor Claims, which have been divided by the entity defendant USCIS approved

                                                                                             21 EB-5 NCE in which the EB-5 Investor Claimants invested, are identified in Exhibits 3B through

                                                                                             22 3G as follows:

                                                                                             23           Class 3B:         CallSocket, L.P.       Exhibit “3B”
                                                                                                          Class 3C:         CallSocket II, L.P.    Exhibit “3C”
                                                                                             24           Class 3D:         CallSocket III, L.P.   Exhibit “3D”
                                                                                                          Class 3E:         NA3PL, L.P.            Exhibit “3E”
                                                                                             25           Class 3F:         West Oakland           Exhibit “3F”
                                                                                                                            Plaza, L.P.
                                                                                             26           Class 3G          California Gold        Exhibit “3G”
                                                                                                                            Medal, L.P.
                                                                                             27

                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       11                                  3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 12 of 54




                                                                                              1          This Plan contemplates that the Allowed Unsecured Creditor Claims and Allowed EB-5

                                                                                              2 Investor Claims will be paid as provided by this Plan from the Plan Fund, which shall be funded

                                                                                              3 by cash in the Distribution Account. If there are insufficient funds to pay Class 3 Claims in full,

                                                                                              4 Class 3 Claimants shall be paid on a pro rata basis. PURSUANT TO THE TERMS OF THIS

                                                                                              5 PLAN NO PAYMENT SHALL BE MADE TO ANY CLASS 3 CLAIMANT ON ACCOUNT

                                                                                              6 OF A CLAIM OR PORTION THEREOF FOR INTEREST, CONSEQUENTIAL

                                                                                              7 DAMAGES, PUNITIVE DAMAGES OR OTHER PENALTIES.

                                                                                              8          Class 3 Claimants who are EB-5 Investor Claimants may also receive an additional

                                                                                              9 distribution from the Fair Fund Distribution Account if such a distribution is approved by the

                                                                                             10 Court pursuant to a proposal by the SEC. In the event of a distribution to EB-5 Investor Claimants

                                                                                             11 from the Fair Fund Distribution Account, such distribution is separate and apart from Distributions

                                                                                             12 by the Receiver pursuant to the Plan.
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13          Upon the receipt of a Distribution Plan Notice, Class 3 EB-5 Investor Claimants shall
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14 notify the Receiver, in writing, providing the name, location and account to which the Distribution

                                                                                             15 may be made by use of the Form Statement Of Claim By EB-5 Investor attached hereto as

                                                                                             16 Exhibit 3H. Any payment of a Class 3 EB-5 Investor Claimant's Distribution to a third

                                                                                             17 party shall be only for the convenience of and at the direction of the Class 3 EB-5 Investor

                                                                                             18 Claimant in lieu of a payment directly to the Class 3 EB-5 Investor Claimant and shall not

                                                                                             19 be considered an investment by any Receivership Entity or by the Receiver on behalf of any

                                                                                             20 Class 3 EB-5 Investor Claimant.

                                                                                             21          THIS PLAN, THE RECEIVER AND HER PROFESSIONALS DO NOT PROVIDE

                                                                                             22 ANY IMMIGRATION ADVICE, LEGAL OR OTHERWISE, AND ALL EB-5 INVESTOR

                                                                                             23 CLAIMANTS ARE ENCOURAGED TO CONSULT THEIR OWN BUSINESS AND

                                                                                             24 INVESTMENT ADVISORS AND IMMIGRATION COUNSEL REGARDING ANY

                                                                                             25 CONSEQUENCES OF THIS PLAN, RECEIPT OF A PLAN DISTRIBUTION, OR ANY

                                                                                             26 SUBSEQUENT USE BY EB-5 INVESTOR CLAIMANTS OF THEIR DISTRIBUTION.

                                                                                             27

                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                      12                                 3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 13 of 54




                                                                                              1                 4.      Class 4

                                                                                              2          Class 4 consists of the Allowed SEC’s Claims. The Allowed SEC’s Claims shall be

                                                                                              3 treated as may be agreed to by the SEC and Receiver, subject to Court approval.

                                                                                              4                 5.      Class 5

                                                                                              5          Class 5 consists of the Allowed Equity Holders’ Claims.

                                                                                              6 V.       PROPOSED PLAN NOTICE

                                                                                              7          Upon the filing of the Distribution Plan with the Court in the Case:

                                                                                              8          1.     The Receiver will file a notice of hearing for approval of the Distribution Plan

                                                                                              9 (“Plan Notice”).

                                                                                             10          2.     The Plan Notice will contain an objection deadline, and the hearing date, time and

                                                                                             11 place. The Receiver shall serve the Plan Notice, the motion for approval of the Distribution Plan

                                                                                             12 and all supporting pleadings and documents (collectively “Plan Documents”) on all Unsecured
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 Creditors, EB-5 Investor Claimants, Equity Holders, the SEC, and Parties in Interest as follows:
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14                 (a)     By ECF on those Unsecured Creditors, EB-5 Investor Claimants, the SEC,

                                                                                             15 Equity Holders and Parties in Interest that have an ECF ,account on the District Court’s website;

                                                                                             16                 (b)     On all known EB-5 Investor Claimants, by email where the email address is

                                                                                             17 known by the Receiver to be valid and current, and regular mail where an email address is not

                                                                                             18 known by the Receiver or is known by the Receiver to be invalid;

                                                                                             19                 (c)     On all known Unsecured Creditors, Equity Holders and Parties in Interest,

                                                                                             20 by regular mail where either the street address is known by the Receiver to be valid and current or

                                                                                             21 the Unsecured Creditor, Equity Holder or Party in Interest provided an address on its Proof of

                                                                                             22 Claim, or by email known by the Receiver to be valid and current where the street address is not

                                                                                             23 known by the Receiver or is known by the Receiver to be invalid.

                                                                                             24          3.     The Receiver shall post the Plan Documents on the Receiver’s website at: sfrc-

                                                                                             25 eb5.com.

                                                                                             26

                                                                                             27

                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                      13                                 3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 14 of 54




                                                                                              1 VI.      CREATION OF PLAN FUND TO PAY CASH CLAIMS IN CLASSES 1, 2, 3, 4
                                                                                                         AND 5
                                                                                              2
                                                                                                         A.      Cash To Create Plan Fund
                                                                                              3
                                                                                                         The cash in the Distribution Account shall constitute the Plan Fund to pay Claims in
                                                                                              4
                                                                                                  Classes 1, 2, 3, 4 and 5 as provided by this Plan. In addition, to the extent that the Receiver
                                                                                              5
                                                                                                  recovers damages or other funds from or on account of the Consolidated Receivership Claims,
                                                                                              6
                                                                                                  Avoidance Actions and/or Causes of Action, such recoveries shall be added to the Distribution
                                                                                              7
                                                                                                  Account and shall also constitute or be a part of the Plan Fund to pay Claims in Classes 1, 2, 3, 4
                                                                                              8
                                                                                                  and 5, as provided by this Plan.
                                                                                              9
                                                                                                         B.      Priority Of Payment Of Claims From Plan Fund And Fair Funds
                                                                                             10
                                                                                                         The Plan Fund will be used to pay Classes 1, 2, 3, 4 and 5, as provided by the Plan. To the
                                                                                             11
                                                                                                  extent there is a surplus in the Plan Fund following payment of Classes 1, 2, 3, and 4 (if any) the
                                                                                             12
                                                                                                  surplus shall be distributed to the Class 3 EB-5 Investor Claimants to reflect the risks they
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                                  undertook in investing. To the extent there is a deficiency, Classes 1 and 2 will be paid in full, and
                                                                                             14
                                                                                                  Class 3 will receive a pro rata distribution on account their Claims from the remaining funds in the
                                                                                             15
                                                                                                  Plan Fund following payment in full to Classes 1 and 2. Class 5 shall not receive any distribution
                                                                                             16
                                                                                                  under the Plan unless or until Classes 1, 2, 3, and 4 are paid in full.
                                                                                             17
                                                                                                         INTEREST SHALL NOT ACCRUE OR BE PAID ON ANY ALLOWED CLAIM,
                                                                                             18
                                                                                                  AND NO HOLDER OF AN ALLOWED CLAIM SHALL BE ENTITLED TO INTEREST
                                                                                             19
                                                                                                  ACCRUING ON ANY ALLOWED CLAIM FOR THE PERIOD OF TIME FROM THE
                                                                                             20
                                                                                                  DATE OF THE APPOINTMENT OF THE RECEIVER TO THE DATE THE CASE IS
                                                                                             21
                                                                                                  CLOSED.
                                                                                             22
                                                                                                         Allowed Claims shall be paid from the Plan Fund in the following priority:
                                                                                             23
                                                                                                         Class 1: Administrative Claims shall be paid in full from the Plan Fund. In the Receiver’s
                                                                                             24
                                                                                                  discretion, the Administrative Cash Reserve shall retain sufficient funds to pay projected
                                                                                             25
                                                                                                  Administrative Claims through the close of the Consolidated Receivership Estate.
                                                                                             26

                                                                                             27

                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                         14                                 3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 15 of 54




                                                                                              1          Class 2: Priority Claims shall be paid in full from the Plan Fund. In the Receiver’s

                                                                                              2 discretion, the Administrative Cash Reserve shall retain sufficient funds to pay Priority Claims

                                                                                              3 through the close of the Consolidated Receivership Estate.

                                                                                              4          Class 3: Unsecured Creditor Claims and EB-5 Investor Claims shall be paid from the Plan

                                                                                              5 Fund. If the Plan Fund is insufficient to pay the Unsecured Creditor Claims and EB-5 Investor

                                                                                              6 Claims in full, the Unsecured Creditor Claims and EB-5 Investor Claims shall be paid on a pro

                                                                                              7 rata basis.

                                                                                              8          NOTWITHSTANDING THE FOREGOING PROVISION, ANY UNSECURED

                                                                                              9 CREDITOR CLAIM AND ANY EB-5 INVESTOR CLAIM SHALL BE TREATED AS A

                                                                                             10 DISALLOWED CLAIM IN THE EVENT THE RECEIVER HAS AN AVOIDANCE

                                                                                             11 ACTION, CLAIM OR CAUSE OF ACTION AGAINST SUCH UNSECURED CREDITOR

                                                                                             12 AND/OR EB-5 INVESTOR UNTIL SUCH TIME THE UNSECURED CREDITOR OR EB-
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 5 INVESTOR SATISFIES THE RECEIVER’S AVOIDANCE ACTION, CLAIM OR
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14 CAUSE OF ACTION, AT WHICH TIME THE UNSECURED CREDITOR OR EB-5

                                                                                             15 INVESTOR MAY RECEIVE A DISTRIBUTION ON THEIR RESPECTIVE CLAIMS.

                                                                                             16          Class 4: The SEC’s Claims as determined by agreement of the SEC and Receiver, subject

                                                                                             17 to Court approval.

                                                                                             18          Class 5: The Claims of the Equity Holders shall receive nothing unless or until the

                                                                                             19 Allowed Claims of Classes 1, 2, 3 and 4 (if any) are paid in full.

                                                                                             20                  1.     Administrative Cash Reserve:

                                                                                             21          The Receiver shall have the authority and discretion to retain a reserve from the Plan Fund

                                                                                             22 to ensure that sufficient funds will be available to pay:

                                                                                             23                  (a)    Class 1 and 2 Claims in full through the close of the Case or the

                                                                                             24 Consolidated Receivership Estate;

                                                                                             25                  (b)    Any and all estimated tax liability generated from the previous sale of

                                                                                             26 Receivership Assets to generate the Plan Fund;

                                                                                             27                  (c)    The fees and costs to wind up the Consolidated Receivership Estate;

                                                                                             28                  (d)    Any unanticipated costs of the Consolidated Receivership Estate; and

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                      15                                 3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 16 of 54




                                                                                              1                  (e)     Any disputed Claim, or Claim for which the Receiver has asserted a Claim

                                                                                              2 Objection, until such time as the dispute or objection is resolved by the Receiver or by order of the

                                                                                              3 Court.

                                                                                              4                  2.      Fair Funds:

                                                                                              5          The disgorgement obtained by the Commission from relief defendant BHD and the

                                                                                              6 disgorgement and penalties obtained by the Commission from defendant Thomas M. Henderson

                                                                                              7 are not assets of the Consolidated Receivership Estate and may, if proposed by the Commission

                                                                                              8 and approved by the Court, be distributed or transferred to the Receiver for placement or deposit

                                                                                              9 in the Fair Fund Distribution Account for distribution to Class 3 EB-5 Investor Claimants only,

                                                                                             10 based upon the EB-5 Investor Claims

                                                                                             11                  3.      Final Distribution:

                                                                                             12          Following the completion of prosecution of all Consolidated Receivership Claims,
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13 Avoidance Actions, and Causes of Action of any kind by the Receiver and the distribution of the
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14 cash from the Plan Fund and the Fair Fund Distribution Account, the Receiver shall prepare and

                                                                                             15 file final tax returns for SFRC, and, shall seek authority from the Court to make a final distribution

                                                                                             16 of any funds remaining in the Plan Fund and the Fair Fund Distribution Account at that time.

                                                                                             17 VII.     TAX TREATMENT

                                                                                             18          At the Receiver’s discretion, upon consultation with her tax professionals:

                                                                                             19          1.      The activity of the Consolidated Receivership Estate from and after June 3, 2019,

                                                                                             20 shall be reported as taxable activity of SFRC.

                                                                                             21          2.      Any tax liability of the Consolidated Receivership Estate shall be paid with cash in

                                                                                             22 the Plan Fund. No distributions to Classes 3 shall be paid until such time as the Receiver, in her

                                                                                             23 discretion, determines that sufficient funds are available in the Plan Fund to pay all taxes in full, or

                                                                                             24 there is a sufficient reserve for those claims.

                                                                                             25          3.      The Allowed EB-5 Investor Claims shall be treated as debts of SFRC for tax

                                                                                             26 reporting purposes.

                                                                                             27          THE PLAN, THE RECEIVER AND/OR HER PROFESSIONALS DO NOT

                                                                                             28 PROVIDE ANY TAX ADVICE AND ALL UNSECURED CREDITORS AND EB-5

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       16                                  3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 17 of 54




                                                                                              1 INVESTOR CLAIMANTS ARE ENCOURAGED TO CONSULT THEIR OWN TAX

                                                                                              2 ADVISOR REGARDING ANY TAX CONSEQUENCES OF THIS PLAN.

                                                                                              3 VIII. ADMINISTRATIVE MATTERS

                                                                                              4          A.      Jurisdiction of Court

                                                                                              5          This Court shall have sole and exclusive jurisdiction to interpret and enforce this Plan.

                                                                                              6 This Court shall also have sole and exclusive jurisdiction to resolve all disputes concerning the

                                                                                              7 Plan, and resolve all disputes under the Plan.

                                                                                              8          All Claims, Claims Objections and Allowed Claims shall be subject to the jurisdiction of

                                                                                              9 the Court.

                                                                                             10          Nothing in this Plan shall interfere with or supersede the Receiver’s rights and authority

                                                                                             11 under Paragraphs 9(H), 9(I), 39, and 40 of the Appointment Order.

                                                                                             12          B.      De Minimis, Unclaimed and Undeliverable Distributions
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13                  1.     No Di Minimis Distributions
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14          The Receiver shall not be required to make a distribution to the holder of an Allowed

                                                                                             15 Claim if such a distribution is an amount less than $100.00. Any holder of an Allowed Claim that

                                                                                             16 does not receive a distribution solely because of this provision will have such distribution reserved

                                                                                             17 until such time as the holder would receive a distribution in the amount of $100.00 or more.

                                                                                             18                  2.     Unclaimed and Undeliverable Distributions

                                                                                             19          Any Unclaimed Property shall be added back to the Plan Fund in the Distribution Account

                                                                                             20 for Distribution to Class 3 Claimants in accordance with the terms of this Plan. Any Unclaimed

                                                                                             21 Property remaining after Final Distribution shall be donated to charity to be selected at a later

                                                                                             22 time.

                                                                                             23          C.      Reports to the Court and to Claimants

                                                                                             24          The Receiver shall file a written report with the Court regarding the status of efforts to

                                                                                             25 implement this Distribution Plan, which report shall be part of the Receiver’s Quarterly Report.

                                                                                             26          D.      Adjustments and Amendments

                                                                                             27          To carry out the purposes of the Distribution Plan, the Receiver may make adjustments to

                                                                                             28 the Distribution Plan, consistent with the purposes and intent of the Distribution Plan, as may be

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                       17                                  3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 18 of 54




                                                                                              1 agreed upon between the Receiver and the Commission, and approved by the Court. The Court

                                                                                              2 retains jurisdiction over this matter for the purpose of ruling on any such proposed amendments

                                                                                              3 and for any and all other matters that may arise under or relate to the Distribution Plan.

                                                                                              4          E.       Possible Avoidance Actions and Retained Claims

                                                                                              5          All Consolidated Receivership Claims, Causes of Action, including possible Avoidance

                                                                                              6 Actions, and any Claims and Causes of Action of the entity defendants and relief defendants, are

                                                                                              7 preserved by and for the Consolidated Receivership Estate. The Receiver for the Consolidated

                                                                                              8 Receivership Estate expressly preserves such Claims and Causes of Action for later adjudication,

                                                                                              9 and nothing herein waives the right to bring any such Avoidance Action, Claims and/or Causes of

                                                                                             10 Action unless the same has been settled in this Distribution Plan.

                                                                                             11          F.       Filing Final Tax Returns, Wind Up and Dissolution of Consolidated
                                                                                                                  Receivership Entities
                                                                                             12
                                                                                                         The Receiver may seek to file final tax returns and dissolve any or all of the Consolidated
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                                  Receivership Entities, except SFRC, for which final tax returns shall be filed and SFRC dissolved
                                                                                             14
                                                                                                  as soon as practical following the final distribution under the Plan, as provided in Section VI., B.3.
                                                                                             15
                                                                                                  above. Nothing in the Plan effects or impairs the Consolidated Receivership Entities rights as a
                                                                                             16
                                                                                                  member, shareholder or partner in any limited liability company, corporation or partnership.
                                                                                             17
                                                                                                         G.       Completion of Plan
                                                                                             18
                                                                                                         The Receiver will complete the distributions required by the Plan within five years from
                                                                                             19
                                                                                                  the date the Plan is approved by the Court, unless an application is filed with and approved by the
                                                                                             20
                                                                                                  Court to extend the time to complete the distributions.
                                                                                             21
                                                                                                         If the Receiver or the SEC determines that the Receiver has concluded her duties and
                                                                                             22
                                                                                                  obligations under the Receivership appointment orders issued by the Court, as may have been
                                                                                             23
                                                                                                  amended, either the Receiver or the SEC may apply to the Court for an Order terminating the
                                                                                             24
                                                                                                  Receivership.
                                                                                             25
                                                                                                         Any Order terminating the Consolidated Receivership Estate shall provide for the Receiver
                                                                                             26
                                                                                                  to file a final accounting providing schedules identifying: (i) all assets, their source and value; and
                                                                                             27
                                                                                                  (ii) all liabilities, the nature and amount of such claims.
                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                         18                                  3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
                                                                                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 19 of 54




                                                                                              1         Upon the close of the Consolidated Receivership Estate, the Receiver may destroy all

                                                                                              2 records.

                                                                                              3

                                                                                              4 IX.     RECEIVER’S AUTHORITY

                                                                                              5         Unless expressly superseded by the provisions of this Distribution Plan or order of the

                                                                                              6 Court, the Appointment Order, and the Order Extending Scope of Receivership dated June 5, 2017

                                                                                              7 (Docket No. 171) shall remain in full force and effect.

                                                                                              8

                                                                                              9 DATED: December 19, 2019

                                                                                             10

                                                                                             11
                                                                                                                                           By:          /s/ Susan L. Uecker
                                                                                             12                                                  Susan L. Uecker, Receiver
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                             13
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             14

                                                                                             15

                                                                                             16

                                                                                             17

                                                                                             18

                                                                                             19

                                                                                             20

                                                                                             21

                                                                                             22

                                                                                             23

                                                                                             24

                                                                                             25

                                                                                             26

                                                                                             27

                                                                                             28

  009589.0024\5565081.23
                                                                                                  RECEIVER’S PROPOSED PLAN OF                     19                                 3:17-CV-00223-RS
                                                                                                  DISTRIBUTION
             Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 20 of 54




                                EXHIBIT 1


009589.0024\5694303. 1
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 21 of 54
            Case 3:17-cv-00223-RS Document 100 Filed 03129117 Page L of L8


 I   JINA L. CHOI Q{.Y.BarNo.2699718)
     ERIN E. SCHNEIDER (Cal. Bar No. 216114)
 2    schneidere@sec.gov
     STEVEN D. BUCHHOLZ (CaL BarNo. 202638)
 3    buchholzs@sec.gov
     ANDREW J. HEFTY (Cal. BarNo.220450)
 4    heftya@sec.gov
     SUSAN F. LaMARCA (Cal. Bar No. 215231)
 5    lamarcas@sec.gov
     THOMAS J. EME (Ill. BarNo. 6224870)
 6    emet@sec.gov

 7   Attorneys for Plaintiff
     SECURITIES AND EXCHANGE COMMISSION
 8   44 Montgomery Street, Suite 2800
     San Francisco, CA 94104
 9   Telephone: (415) 7 05-2500
     Facsimile: (415) 705-2501
l0
                                      LINITED STATES DISTRICT COURT
1l
                                 NORTHERN DISTRICT OF CALIFORNIA
t2
                                         SAN FRANCISCO DIVISION
l3
t4
     SECURITIES AND EXCHANGE COMMISSION,              Case No. 3:17 -cv-00223-RS
l5
                    Plaintiff,
t6
                                                      FPROPoS'EEI ORDER APPOTNTING
t7                                                    RECEIVER AND MONITOR
   SAN FRANCISCO REGIONAL CENTER, LLC;
l8 THOMAS M. HENDERSON; CALIFORNIA
   GOLD MEDAL, L.P.; CALLSOCKET, L.P.;
t9 CALLSOCKET II, L.P.; CALLSOCKET III, L.P.;
   COMPREHENSIVE CARE OF OAKLAND, L.P.;
20 NA3PL, L.P.; WEST OAKLAND PLAZA,L.P,;
   CALLSOCKET, LLC; CALLSOCKET II, LLC;
2l CALLSOCKET III, LLC; COMPREHENSIVE
   CARE OF CALIFORNIA, LLC; IMMEDIA, LLC;
22 and NORTH AMERICA 3PL, LLC,

23                  Defendants, and

24   CALLSOCKET HOLDING COMPANY
     LLC; CALLSOCKET III HOLDING
25   COMPANY,LLC; BERKELEY
     HEALTHCARE DYNAMICS, LLC;
26   CENTRAL CALIFORNIA FARMS, LLC;
     and JL GATEWAY,LLC,
27

28                  Relief Defendants.



     [PRoposED] Oruen Appr. REcETvER AND MoNrroR      EXHIBIT 1             CASE No, 3:17-cv-00223
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 22 of 54
          Case 3:17-cv-00223-RS Document 100 Filed O3l29lI7 Page 2 of L8



 1          This matter came before this Court upon the motion of the Securities and Exchange

 2   Commission ("SEC"or "Commission") for an order seeking the appointment of a receiver over San

 J   Francisco Regional Center, LLC; Califomia Gold Medal, L.P.; CallSocket, L.P.; CallSocket II, L.P.;

 4   CallSocket III, L.P.; Comprehensive Care of Oakland, L.P.;NA3PL, L.P.; West Oakland Plaza,L,P.;

 5   CallSocket,LLC; CallSocket II, LLC; CallSocket III, LLC; Comprehensive Care of California,LLC;
 6   Immedia, LLC;North America 3PL, LLC (collectively, the'oentity Defendants"); CallSocket Holding

 7   Company, LLC; CallSocket III Holding Company, LLC;Berkeley Healthcare Dynamics, LLC;

 8   Central California Farms, LLC; and JL Gateway,LLC (collectively, the "Relief Defendants"). The

 9   Court has considered the Commission's Motion for Preliminary Injunction and for the Appointment

l0 of Receiver and the Declarations of Ellen Chen, Thomas J. Eme, and Andrew J. Hefty, the exhibits
l1   thereto, and any responses thereto; and the record in these proceedings before the Court.

l2          On the basis of this record, the Court finds that this Court has subject matter jurisdiction over

13   this action and personal jurisdiction over the entity Defendants and Relief Defendants. The Court

14   also finds that the appointment of a receiver in this action is necessary and appropriate for the

15   purposes of marshaling and preserving all assets of Defendants San Francisco Regional Center, LLC;

t6   California Gold Medal, L.P.; Callsocket, L.P.; Callsocket II, L.P.; Callsocket III, L.P.;NA3PL, L.P.;
t7   West OaklandPlaza, L.P.; Callsocket, LLC; Callsocket II, LLC; Callsocket III, LLC; Immedia, LLC

18   (collectively, the "Receivership Defendants");and of Relief Defendants CallSocket Holding
t9   Company, LLC; CallSocket III Holding Company, LLC; Central California Farms, LLC; and JL

20   Gateway, LLC (collectively, "Receivership Relief Defendants") that: (a) are attributable to funds

2l   derived from investors of the Defendants or Relief Defendants; (b) are held in constructive trust for

22   the entity Defendants or Relief Defendants; (c) were fraudulently transferred by the Defendants or

23   Relief Defendants;and/or (d) may otherwise be includable as assets of the estates of the entity
24   Defendants or Relief Defendants (collectively, the "Recoverable Assets").

25          The Court further finds that the appointment of a monitor in this action is necessary and

26   appropriate as to Defendants Comprehensive Care of California, LLC; Comprehensive Care of
                                                                      o'Monitorship Defendants"); and of
27   Oakland, L.P.; and North America 3PL, LLC (collectively, the

28                                                                 o'Monitorship Relief Defendant").
     Relief Defendant Berkeley Healthcare Dynamics, LLC (the
     fPnonosro] ORDER Appr. RECETVER ANo                I                               CASE No. 3:17-cv-00223
     MONITOR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 23 of 54
          Case 3:L7-cv-00223-Rs Document 100 Filed O3l29lL7 Page 3 of 18



 1             THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:
 2             1.    The Commission's Motion for Appointment of a Receiver is GRANTED as to the

 J   Receivership Defendants and Receivership Relief Defendants.

 4             2.    This Court hereby takes exclusive jurisdiction and possession of the assets, of

 5   whatever kind and wherever situated, of the Receivership Defendants and Receivership Relief

 6   Defendants.

 7             3.    Until further Order of this Court, Susan L. Uecker is hereby appointed to serve
 8   without bond as receiver (the "Receiver") for the estates of the Receivership Defendants and the
 9   Receivership Relief Defendants.

l0             4.    Until fuither Order of this Court, Susan L. Uecker is also hereby appointed to serve
l1   without bond as monitor (the "Monitor") for the estates of the Monitorship Defendants and the
12   Monitorship Relief Defendant.
l3             5.    Within 45 days of the date of this Order, the Monitor will submit a report to the Court
t4   as to (a) whether there are reasons justifying expansion of her authority over the Monitorship

l5   Defendants and Monitorship Relief Defendant from o'monitor" toooreceiver," and; (b) the likelihood,

t6   if any, that her appointment as a receiver over any or all of the Monitorship Defendants and
t7   Monitorship Relief Defendant would cause disruption to any of those entities' contractual
18   relationships with third parties

t9                                 I.   General Powers and Duties of Receiver
20             6.   The Receiver shall have all powers, authorities, rights, and privileges heretofore

2t   possessed by the officers, directors, managers, and general and limited partners of the Receivership

22   Defendants and Relief Defendants under applicable state and federal law, by the governing charters,

23   by-laws, articles, andlor agreements in addition to all powers and authority of a rece iver at equity,

24   and all powers conferred upon a receiver by the provisions of 28 U.S.C. $$ 754, 959, and 1692, and

25   Fed. R. Civ. P. 66.

26          7.      The trustees, directors, officers, managers, employees, investment advisors,

27   accountants, attorneys, and other agents of the Receivership Defendants and Relief Defendants are

28   hereby dismissed and the powers of any general partners, directors, and/or managers are hereby
     [Pnonosro] ORDER Appr. RECETVER AND                2                                CASE No. 3:17-cv-00223
     MoNIToR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 24 of 54
          Case 3:17-cv-00223-RS Document 100 Filed 031291t7 Page 4 of 18


 I   suspended. Such persons and entities shall have no authority with respect to the Receivership

 2   Defendants' and Relief Defendants' operations or assets, except to the extent as may hereafter be

 J   expressly granted by the Receiver. The Receiver shall assume and control the operation of the

 4   Receivership Defendants and Relief Defendants and shall pursue and preserve all of their claims.

 5             8.   No person, other than the Receiver, holding or claiming any position of any sort with
 6   any of the Receivership Defendants or Relief Defendants shall possess any authority to act by or on

 7   behalf of any of the Receivership Defendants or Relief Defendants.

 8          9.      Subject to the specific provisions in Sections II through XIII below, the Receiver shall

 9   have the following general powers and duties:

l0                  A.     To use reasonable efforts to determine the nature, location, and value of all
                           property interests of the Receivership Defendants and Relief Defendants and
lt                         all other Recoverable Assets, including, but not limited to, monies, funds,
                           securities, credits, effects, goods, chattels, lands, premises, leases, claims,
t2                         rights, and other assets, together with all rents, profits, dividends, interest, or
                           other income attributable thereto, of whatever kind, which the Receivership
l3                         Defendants or Relief Defendants own, possess, have a beneficial interest in, or
                           control directly or indirectly (ooReceivership Property" or, collectively, the
t4                         "Receivership Estates");
15                  B.     To take custody, control, and possession of all Receivership Property and
                           records relevant thereto from the Receivership Defendants and Relief
t6                         Defendants; to sue for and collect, recover, receive, and take into possession
                           from third parties all Receivership Property and records relevant thereto;
t7
                    C.     To manage, control, operate, and maintain the Receivership Estates and hold in
l8                         her possession, custody, and control all Receivership Property, pending further
                           Order of this Court;
t9
                    D.     To use Receivership Property for the benefit of the Receivership Estates,
20                         making payments and disbursements and incurring expenses as may be
                           necessary or advisable in the ordinary courss of business in discharging her
2l                         duties as Receiver;
22                  E.     To take any action which, prior to the entry of this Order, could have been
                           taken by the officers, directors, partners, managers, trustees, and agents of the
23                         Receivership Defendants or Relief Defendants;
24                  F.     To engage and employ persons in her discretion to assist her in carrying out
                           her duties and responsibilities hereunder, including, but not limited to,
25                         accountants, afforneys, securities traders, registered representatives, financial
                           or business advisers, liquidating agents, real estate agents, forensic experts,
26                         brokers, traders, or auctioneers;
27                  G.     To take such action as necessary and appropriate for the preservation of
                           Receivership Property or to prevent the dissipation or concealment of
28                         Receivership Property ;
     [PRoPosED] ORDER APPr RECEIVERAND                 3                                CASENO.3IIT.?V-00223
     MoNIToR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 25 of 54
          Case 3:17-cv-00223-RS Document 100 Filed 031291L7 Page 5 of 18


                        H      To issue subpoenas for documents and testimony consistent with the Federal
 I                             Rules of Civil Procedure, concerning any subject matter within the powers and
                               duties granted by this Order;
 2
                        I      To bring such legal actions based on law or equity in any state, federal, or
 J                             foreign court as the Receiver deems necessary or appropriate in discharging
                               her duties as Receiver;
 4
                        J      To pursue, resist, and defend all suits, actions, claims, and demands which may
 s
                               now be pending or which may be brought by or asserted against the
                               Receivership Estates; and
 6
                        K.     To take such other aciion as may be approved by this Court,
 7

 8                                            n.   Access to Information

 9             10. The officers, directors, agents, managers, general and limited partners, trustees,
10   attorneys, accountants, and employees of the Receivership Defendants and Relief Defendants, as well

1l   as those acting in their plaoe, are hereby ordered and directed to preserve and turn over to the

12   Receiver forthwith all paper and electronic information of, andlor relating to, the Receivership

l3   Defendants or Relief Defendants and/or all Receivership Properiy; such information shall include but

t4 not be limited to books, records, documents, accounts, and all other instruments and papers.
t5             I   1.   Within twenty (20) days of the entry of this Order, the Receivership Defendants and
I6 Relief Defendants shall serve upon the Receiver and the Commission a sworn statement, listing: (a)
l7 the identity, location, and estimated value of all Receivership Property; (b) all employees (and job
18   titles thereof), other personnel, attorneys, accountants, and any other agents or contractors ofthe
t9   Receivership Defendants and Relief Defendants; and, (c) the names, addresses, and amounts of

20   claims of all known creditors of the Receivership Defendants and Relief Defendants.
2t             12. Within thirty (30) days of the entry of this Order, the Receivership Defendants and
22   Relief Defendants shall provide to the Receiver and the Commission copies of the Receivership
23   Defendants' and Relief Defendants' federal income tax returns for the tax years 2010 through2015,

24   with all relevant and necessary underlying documentation.
25             13. The officers, directors, agents, managers, general and limited partners, trustees,
26   attorneys, accountants, and employees of the Receivership Defendants and Relief Defendants, as well

27   as those acting in their place, shall answer to the Receiver all questions which the Receiver may put

28   to them and produce all documents as required by the Receiver regarding the business of the
     [Pnorosao] OnoER Appr. RECETVER AND                 4                               Cass No. 3:17-cv-00223
     MoNIToR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 26 of 54
          Case 3:17-cv-00223-RS Document 100 Filed O3l29lL7 Page 6 of L8



 I   Receivership Defendants and Relief Defendants, or any other matter relevant to the operation or

 2   administration of the receivership or the collection of funds due to the Receivership Defendants. In

 J   the event that the Receiver deems it necessary to require the appearance of the aforementioned

 4   persons or entities, the Receiver shall make discovery requests in accordance with the Federal Rules

 5   of Civil Procedure.
 6             14. The Receivership Defendants and Relief Defendants, individual Defendant Thomas
 7   M. Henderson, the officers, directors, agents, managers, general and limited partners, trustees,
 8   attorneys, accountants, and employees of the Receivership Defendants and Relief Defendants, as well

 9   as those acting in their place, are required to assist the Receiver in fulfilling her duties and

l0 obligations. As such, they must respond promptly and truthfully to all requests for information and
l1   documents from the Receiver.

l2                                ilI.   Access to Books. Records. and Accounts

13             15. The Receiver is authorizedto take immediate possession of all assets, bank accounts
l4   or other financial accounts, books and records and all other documents or instruments relating to the

15   Receivership Defendants or Relief Defendants. All persons and entities having control, custody, or

t6   possession of any Receivership Property are hereby directed to turn such property over to the

t7 Receiver.
l8             16. The Receivership Defendants and Relief Defendants, as well as their agents, servants,
t9 employees, attorneys, any persons acting for or on behalf of the Receivership Defendants or Relief
20   Defendants, and any persons receiving notice of this Order by personal service, email, facsimile, or

2l   otherwise, having possession of the property, business, books, records, accounts, or assets of the

22   Receivership Defendants or Relief Defendants, or other Receivership Property, are hereby directed to

23   deliver the same to the Receiver, her agents and/or employees.

24             17. All banks, brokerage firms, financial institutions, and other persons or entities which
25   have possession, custody, or control of any Receivership Property that receive actual notice of this

26   Order by personal service, email, facsimile, or otherwise shall:

27                    A.     Not liquidate, transfer, sell, convey, or otherwise transfer any Receivership
                             Property except upon instructions from the Receiver;
28

     [PRoposED] ORDER Appr. RscsIvBR eNn                 5                                 CASENo, 3:17-cv-00223
     MoNIToR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 27 of 54
          Case 3:17-cv-00223-RS Document 100 Filed O3l29lL7 Page 7 of LB


 I
                     B.      Not exercise any form of set-off, alleged set-off, lien, or any form of self-help
                             whatsoever, or refuse to transfer any funds or assets to the Receiver's control
                             without the permission of this Court;
 2
 a
 J
                     C.      Within five (5) business days of receipt of notice of this Order, serve upon the
                             Receiver and counsel for the Commission a certified statement setting forth,
                             with respect to any account or other asset that is Receivership Property, the
 4                           balance in the account or description of the assets as of the close of business on
                             the date of receipt of the notice; and
 5

 6
                     D iJ,:t:?nffi:ilfH'{#fl::Jif:l'"ix?,ffiTf*f;:irififff::3,l:?1''
 7                                 IV. Access to Real and Personal Propertv
 8             18. The Receiver is authorizedto take immediate possession of all personal property of
 9   the Receivership Defendants, wherever located, including but not limited to electronically stored

l0 information, computers, laptops, hard drives, external storage drives, and any other such memory,
ll   media, or electronic storage devices, books, papers, data processing records, evidence of

12   indebtedness, bank records and accounts, savings records and accounts, brokerage records and

13   accounts, certificates of deposit, stocks, bonds, debentures, and other securities and investments,

t4 contracts, mortgages, furniture, office supplies, and equipment.
l5             19. The Receiver is author ized totake immediate possession of all real property of the
t6   Receivership Defendants and Relief Defendants, wherever located, including but not limited to all

l7 ownership and leasehold interests and fixtures. Upon receiving actual notice of this Order by
l8   personal service, email, facsimile, or othdrwise, all persons other than law enforcement officials

t9 acting within the course and scope of their official duties, are (without the express written permission
20   of the Receiver) prohibited from: (a) entering such premises; (b) removing anything from such
2t   premises; or (c) destroying, concealing, or erasing anything on such premises.

22          20. In order to execute the express and implied terms of this Order, the Receiver is
23   authorized to change door locks to the premises described above. The Receiver shall have exclusive

24   control of the keys. The Receivership Defendants and Relief Defendants, or any other person acting

25   or purporting to act on their behalf are ordered not to change the locks in any manner, nor to have

26   duplicate keys made, nor shall they have keys in their possession during the term of the receivership

27   (without the express written permission of the Receiver).
28

     [PRoposED] ORDER Appr. RECEIVER AND                6                                CASE No. 3:17-cv-00223
     MoNIToR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 28 of 54
          Case 3:17-cv-00223-RS Document 100 Filed O3l29lL7 Page 8 of 18


 I             21. The Receiver is authorized to open all mail directed to or received by or at the offices
 2   or post office boxes of the Receivership Defendants and Relief Defendants, and to inspect all mail

 J   opened prior to the entry of this Order, to determine whether items or information therein fall within

 4   the mandates of this Order.

 5           22.      Upon the request of the Receiver, the United States Marshal Service, in any judicial

 6   district, is hereby ordered to assist the Receiver in carrying out her duties to take possession, custody,
 7   and control of, or identiff the location of, any assets, records, or other materials belonging to the

 8   Receivership Estate.

 9                                           V. Notice to Third Parties
l0           23.      The Receiver shall promptly give notice, which may be by electronic means, of her

11   appointment to all known officers, directors, agents, employees, shareholders, creditors, debtors,

t2   managers, and general and limited partners of the Receivership Defendants and Relief Defendants, as

l3   the Receiver deems necessary or advisable to effectuate the operation of the receivership.

t4           24.      All persons and entities owing any obligation, debt, or distribution with respect to an
15   ownership interest to the Receivership Estate shall, until further ordered by this Court, pay all such

t6   obligations in accordance with the terms thereof to the Receiver and its receipt for such payments

t7   shall have the same force and effect as if the Receivership Defendant or Relief Defendant had

18   received such payment.

t9           25.      In furtherance of her responsibilities in this matter, the Receiver is authorized to
20   communicate with, and/or serve this Order upon, any person, entity, or government office that she

2l   deems appropriate to inform them of the status of this matter and/or the financial condition of the

22   Receivership Estates. All government offices which maintain public files of security interests in real

23   and personalproperty shall, consistent with such office's applicable procedures, record this Order

24   upon the request of the Receiver or the SEC.

25             26. The Receiver is authorized to instruct the United States Postmaster to hold and/or
26   reroute mail which is related, directly or indirectly, to the business, operations or activities of any of

27   the Receivership Defendants or Relief Defendants (the "Receiver's Mail"), including all mail

28   addressed to, or for the benefit of, the Receivership Defendants or Relief Defendants. The
     [Pnopossr] ORosn Appr. RECETVER AND                  7                                CASE No. 3:17 -cv-00223
     MoNITOR
         Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 29 of 54
           Case 3:l-7-cv-00223-Rs Document 100 Filed 031291L7 Page 9 of 18



  I   Postmaster shall not comply with, and shall immediately report to the Receiver, any change of

  2   address or other instruction given by anyone other than the Receiver concerning the Receiver's Mail.

  J   The Receivership Defendants and Relief Defendants shall not open any of the Receiver's Mail and

  4   shall immediately turn over such mail, regardless of when received, to the Receiver. The foregoing

  5   instructions shall apply to any proprietor, whether individual or entity, of any private mail box,

  6   depository, business or service, or mail courier or delivery service, hired, rented, or used by the

  7   Receivership Defendants or Relief Defendants. The Receivership Defendants and Relief Defendants

  8   shall not open a new mailbox, or take any steps or make any arrangements to receive mail in

  9   contravention of this Order, whether through the U.S. mail, a private mail depository, or courier

l0    service.

11               27.    Subject to payment for services provided, any entity furnishing water, electric,

t2    telephone, sewage, garbage or trash removal services to the Receivership Defendants or Relief

l3    Defendants shall maintain such service and transfer any such accounts to the Receiver unless

14    instructed to the contrary by the Receiver.

t5                               VI. Iniunction Against Interference with Receiver
t6               28. The Receivership Defendants and Relief Defendants and all persons receiving notice
l7 of this Order by personal service, email, facsimile, or otherwise, are hereby restrained and enjoined
l8    from directly or indirectly taking any action or causing any action to be taken, without the express
t9    written agreement of the Receiver, which would:
20                     A.      Interfere with the Receiver's efforts to take control, possession, or
                               management of any Receivership Property; such prohibited actions include but
2l                             are not limited to, using self-help or executing or issuing or causing the
                               execution or issuance of any court attachment, subpoena, replevin, execution,
22                             or other process for the purpose of impounding or taking possession of or
                               interfering with or creating or enforcing a lien upon any Receivership Property;
23

24
                       B.      Hinder, obstruct or otherwise interfere with the Receiver in the performance of
                               her duties; such prohibited actions include but are not limited to, concealing,
                               destroying, or altering records or information;
25

,26
                       C.      Dissipate or otherwise diminish the value of any Receivership Property; such
                               prohibited actions include but are not limited to, releasing claims or disposing,
                               transferring, exchanging, assigning, or in any way conveying any Receivership
27                             Property, enforcing judgments, assessments, or claims against any
                               Receivership Property or any Receivership Defendant or Relief Defendant,
28                             attempting to modify, cancel, terminate, call, extinguish, revoke, or accelerate
      [Pnoroseo] ORDERAPPT. RECETVERAND                    8                               CASENo.3:17-cv-00223
      MoNIToR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 30 of 54
         Case 3:1-7-cv-00223-RS Document 100 Filed 031291L7 Page 10 of 18


                                (the due date), of any lease, loan, mortgage, indebtedness, security agreement,
 I                              or other agreement executed by any Receivership Defendant or Relief
                                Defendant or which otherwise affects any Receivership Property; or
 2

 J
                        D.      Interfere with or harass the Receiver, or interfere in any manner with the
                                exclusive jurisdiction of this Court over the Receivership Estates.
 4             29. The Receivership Defendants and Relief Defendants shall cooperate with and assist
 5   the Receiver in the performance of her duties.

 6             30. The Receiver shall promptly notify the Court and SEC counsel of any failure or
 7   apparent failure of any person or entity to comply in any way with the terms of this Order.

 8                                              VII. Stav of Litisation
 9             31. As set forth in detail below, the following proceedings, excluding the instant
l0   proceeding and all police or regulatory actions and actions of the Commission related to the above-

11   captioned enforcement action, are stayed until further Order of this Court:

12                      All civil legal proceedings of any nature, including, but not limited to, bankruptcy
                  '   proceedings, arbitration proceedingso foreclosure actions, default proceedings, or
13
                      other actions of any nature involving: (a) the Receiver, in her capacity as Receivero
                      or the Monitor, in her capacity as Monitor; (b) any Receivership Property,
t4                    wherever located, or any property interests of the Monitorship Defendants or
                      Relief Defendant; (c) any of the Receivership Defendants or Relief Defendants, or
15
                      Monitorship Defendants or Relief Defendant, including subsidiaries and
                      partnerships; or (d) any of the ReceiverShip Defendants' and Relief Defendants' or
16                    Monitorship Defendants' or Relief Defendant's past or present officers, directors,
                      managers, agents, or general or limited partners sued for, or in connection with,
t7                    any action taken by them while acting in such capacity of any nature, whether as
                      plaintiff, defendant, third-party plaintiff, third-party defendant, or otherwise (such
18                    proceedings are hereinafter referred to as "Ancillary Proceedings").
l9             32. The parties to any and all Ancillary Proceedings are enjoined from commencing or
20   continuing any such legal proceeding, or from taking any action, in connection with any such

21   proceeding, including, but not limited to, the issuance or employment of process.

22             33. All Ancillary Proceedings are stayed in their entirety, and all Courts having any
ZJ   jurisdiction thereof are enjoined from taking or permitting any action until further Order of this

24   Court. Further, as to a cause of action accrued or accruing in favor of one or more of the
25   Receivership Defendants or Relief Defendants or Monitorship Defendants or Monitorship Relief

26   Defendant against a third person or party, any applicable statute of limitation is tolled during the

27   period in which this injunction against commencement of legal proceedings is in effect as to that

28   cause of action.
     [PnonosEo] Omen Appr. RECETvER AND                    9                               CASE No. 3:17-cv-00223
     MONIToR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 31 of 54
          Case 3:L7-cv-00223-RS Document 100 Filed 03129117 Page 11 of L8



 1                                            V[I. Manasins Assets
 2           34. For each of the Receivership Estates, where appropriate and necessary in the judgment
 a
 J   of the Receiver, the Receiver shall establish one or more custodial accounts at a federally insured

 4   bank to receive and hold all cash equivalent Receivership Property (the "Receivership Funds").

 5           35. The Receiver may, without further Order of this Courto transfer, compromise, or
 6   otherwise dispose of any Receivership Property, other than real estate, in the ordinary course of

 7   business, on terms and in the manner the Receiver deems most beneficial to the Receivership Estate,

 8   and with due regard to the realization of the true and proper value of such Receivership Property.

 9           36. Subject to Paragraph 37, immediately below, the Receiver is authorized to locate, list
l0 for sale or lease, engage a broker for sale or lease, cause the sale or lease, and take all necessary and
ll   reasonable actions to cause the sale or lease of all real property in the Receivership Estates, either at

12   public or private sale, on terms and in the manner the Receiver deems most beneficial to the
t3   Receivership Estate, and with due regard to the realization of the true and proper value of such real

l4 property.
15           37. Upon further Order of this Court, pursuant to such procedures as may be required by
16   this Court and additional authority such as 28 U.S.C. $$ 2001 and2004, the Receiver will be.

17   authorized to sell, and transfer clear title to, all real property in the Receivership Estates.

18           38.     The Receiver is authorized to take all actions to manage, maintain, and/or wind-down

l9   business operations of the Receivership Estates, including making legally required payments to

20   creditors, employees, and agents of the Receivership Estates and communicating with vendors,

2l   investorso governmental and regulatory authorities, and others, as appropriate,

22                                     IX. Investisate and Prosecute Claims
23           39. Subject to the requirement, in Paragraph 40, immediately below, that leave of this
24   Court is required to resume or commence certain litigation, the Receiver is authorized, empowered,

25   and directed to investigate, prosecute, defend, intervene in or otherwise participate in, compromise,

26   and/or adjust actions in any state, federal, or foreign court or proceeding of any kind as may in her

27   discretion, and in consultation with SEC counsel, be advisable or proper to recover andlor conserve

28   Receivership Property.
     [PRoposED] ORDER Appr. RECEIVER   AND               l0                                 CASENO. 3:17-cv-00223
     MoNITOR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 32 of 54
          Case 3:17-cv-00223-RS Document 100 Filed O3l29lL7 Page 12 of !8



 I             ' 40.   Subject to her obligation to expend receivership funds in a reasonable and cost-

 2   effective manner, the Receiver is authorized, empowered, and directei to investigate the manner in

 J   which the financial and business affairs of the Receivership Defendants and Relief Defendants were

 4   conducted and (after obtaining leave of this Court) to institute such actions and legalproceedings, for

 5   the benefit and on behalf of the Receivership Estate, as the Receiver deems necessary and

 6   appropriate. The Receiver may seek, among other legal and equitable relief, the imposition of

 7   constructive trusts, disgorgement of profits, asset turnover, avoidance of fraudulent transfers,

 8   rescission and restitution, collection of debts, and such other relief from this Court as may be

 9   necessary to enforce this Order.

l0              41. The Receiver hereby holds, and is therefore empowered to waive, all privileges,
1l   including the attorney-client privilege, held by all entity Receivership Defendants and Relief

l2   Defendants.

l3             42.     The Receiver has a continuing duty to ensure that there are no conflicts of interest

t4   between the Receiver, her Retained Personnel (as that term is defined below), and the Receivership

l5   Estate.

t6                                             X. Bankruptcv Filine
t7              43. The Receiver may seek authorizationof this Court to file voluntary petitions for relief
l8   under Title I I of the United States Code (the ooBankruptcy Code") for the Receivership Defendants

t9   and Relief Defendants. If a Receivership Defendant or Relief Defendant is placed in bankruptcy

20   proceedings, the Receiver may become, and may be empowered to operate each of the Receivership

2t   Estates as a debtor in possession. In such a situation, the Receiver shall have all of the powers and

22   duties as provided a debtor in possession under the Bankruptcy Code to the exclusion of any other

23   person or entity. Pursuant to Paragraph 7 above, the Receiver is vested with management authority

24   for all Receivership Defendants and Relief Defendants and may therefore file and manage a Chapter
25   I I petition.

26             44. The provisions of Section VII above bar any person or entity, other than the Receiver,
27   from placing any of the Receivership Defendants in bankruptcy proceedings.

28

     [PRoposED] ORDER Appr. REcEIVER AND                 ll                               CASENo. 3:17-cv-00223
     MoNIToR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 33 of 54
         Case 3:17-cv-00223-RS Document 100 Filed O3l29lt7 Page 13 of 18



 I                                           XI. Liabilitv of Receiver
 2             45. Until further Order of this Court, the Receiver shall not be required to post bond or
 J   give an undertaking of any type in connection with her fiduciary obligations in this matter.

 4             46, The Receiver and her agents, acting within the scope of such agency ("Retained
 5   Personnel") are entitled to rely on all outstanding rules of law and Orders of this Court and shall not

 6   be liable to anyone for their own good faith compliance with any order, rule, law, judgment, or

 7   decree. In no event shall the Receiver or Retained Personnel be liable to anyone for their good faith

 8   compliance with their duties and responsibilities as Receiver or Retained Personnel, nor shall the

 9   Receiver or Retained Personnel be liable to anyone for any actions taken or omitted by them except

l0   upon a finding by this Court that they acted or failed to act as a result of malfeasance, bad faith, gross

1l   negligence, or in reckless disregard of their duties.

t2           47.      This Court shall retain jurisdiction over any action filed against the Receiver or

13   Retained Personnel based upon acts or omissions committed in their representative capacities.

l4           48.      In the event the Receiver decides to resign, the Receiver shall first give written notice
l5   to the Court, and to the SEC's counsel of record, of her intention, and the resignation shall not be

16   effective until the Court appoints a successor. The Receiver shall then follow such instructions as the

t7   Court may provide.

18                                     XII. Recommendations and Reports
19             49. The Receiver is authorized, empowered, and directed to develop a plan for the fair,
20   reasonable, and efficient recovery and liquidation of all remaining, recovered, and recoverable

2l   Receivership Property (the "Recovery Plan").

22           50.      Within ninety (90) days of the entry of this Order, the Receiver shall file the Recovery
23   Plan in the above-captioned action, with service copies to counsel of record.

24          51.       Within thirty (30) days after the end of each calendar quarter, the Receiver shall file
25   and serve a full report and accounting of the Receivership Estates (the "Quarterly Status Report"),

26   reflecting (to the best of the Receiver's knowledge as of the period covered by the report) the

27   existence, value, and location of all Receivership Property, and of the extent of liabilities, both those

28

     [Pnoroseo] ORDER Appr. Recpvsn aNn                  t2                               CASENo. 3:17-cv-00223
     MoNrron
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 34 of 54
          Case 3:17-cv-00223-RS Document 100 Filed O3l29lL7 Page t4 of L8



 1   claimed to exist by others and those the Receiver believes to be legal obligations of the Receivership

 2   Estates.

 J              52. The Quarterly Status Report shall contain the following:
 4                    A.     A summary of the operations of the Receiver;
 5                    B.     The amount of cash on hand, the amount and nature of accrued
                             administrative expenses, and the amount of unencumbered funds in the
 6                           estate;

 7                    C.     A schedule of all the Receiveros receipts and disbursements (attached as
                             Exhibit A to the Quarterly Status Report), with one column for the
 8                           quarterly period covered and a second column for the entire duration of
                             the receivership;
 9

l0
                      D.     A description of all known Receivership Property, including
                             approximate or actual valuations, anticipated or proposed dispositions,
                             and reasons for retaining assets where no disposition is intended;
11

l2
                      E.     A description of liquidated and unliquidated claims held by the
                             Receivership Estate, including the need for forensic and/or
                             investigatory resources; approximate valuations of claims; and
l3                           anticipated or proposed methods of enforcing such claims (including
                             likelihood of success in: (i) reducing the claims to judgment; and (ii)
t4                           collecting such judgments);
l5                    F.     A list of all known creditors with their addresses and the amounts of
                             their claips;
t6
l7
                      G.     The status of any litigation brought by the Receivership Estate and of
                             any Creditor Claims Proceedings, after such proceedings have been
                             commenced; and
l8
t9
                      H.     The Receiver's recommendations for a continuaticin or discontinuation
                             of the receivership and the reasons for the recommendations.
20              53.   On the request of the Commission, the Receiver shall provide the Commission with

21   any documentation that the Commission deems necessary to meet its reporting requirements, that is

22   mandated by statute or Congress, or that is otherwise necessary to further the Commission's mission.

23                                     XI[. Fees..Expenses and Accountinqs
24              54. Subject to Paragraphs 55 to 6l immediately below, the Receiver need not obtain Court
25   approval prior to the disbursement of Receivership Funds for expenses in the ordinary course of the

26   administration and operation of the receivership. Further, prior Court approval is not required for

27   payments of applicable federal, state, or local taxes.

28
     [PRoposED] ORrEn Appr. RECEIVER AND                l3                              CASENo, 3:17-cv-00223
     MoNIToR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 35 of 54
         Case 3:L7-cv-00223-RS Document 100 Filed O3l29lL7 Page 1-5 of 18


 I             55.      Subject to Paragraph 56 immediately below, the Receiver is authorized to solicit

 2   persons and entities ("Retained Personnel") to assist her in carrying out the duties and responsibilities
 a
 J   described in this Order. The Receiver shall not engage any Retained Personnel without first

 4   obtaining an Order of the Court authorizing such engagement.

 5             56. The Receiver and Retained Personnel are entitled to reasonable compensation and
 6   expense reimbursement from the Receivership Estates as described in the "Billing Instructions for

 7   Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission" (the

 8   "Billing Instructions") agreed to by the Receiver. Such compensation shall require the prior approval
 9   of the Court.

10             57   .   Within forty-five (45) days after the end of each calendar quarter, the Receiver and
ll   Retained Personnel shall apply to the Court for compensation and expense reimbursement from the

t2   Receivership Estates (the "Quarterly Fee Applications"). At least thirty (30) days prior to filing each

l3   Quarterly Fee Application with the Court, the Receiver will serve upon counsel for the SEC a
t4   complete copy of the proposed Application, together with all exhibits and relevant billing information
15   in a format to be provided by SEC staff.

t6             58. All Quarterly Fee Applications will be interim and will be subject to cost benefit and
t7   final reviews at the close of the receivership. At the close of the receivership, the Receiver will file a
l8 final fee application, describing in detail the costs and benefits associated with all litigation and other
t9   actions pursued by the Receiver during the course of the receivership.

20             59. Quarterly Fee Applications may be subject to a holdback in the amount of 20o/o of the
2t   amount of fees and expenses for each application filed with the Court. The total amounts held back

22   during the course of the receivership will be paid out at the discretion of the Court as part of the final
23   fee application submitted at the close of the receivership.

24           60.        Each Quarterly Fee Application shall:

25                      A.     Comply with the terms of the Billing Instructions agreed to by the
                               Receiver; and,
26

27
                        B.     Contain representations (in addition to the Certification required by the
                               Billing Instructions) that: (i) the fees and expenses included therein were
                               incurred in the best interests of the Receivership Estate; and (ii) with the
28                             exception of the Billing Instructions, the Receiver has not entered into
     [PRoposED] OnoEn Appr. RECETVER   AND                14                                CASENO. 3:17-cv-00223
     MoNIToR
             Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 36 of 54
               Case 3:L7-cv-00223-RS Document 100 Filed O3l29lt7 Page L6 of 18


                                  any agreement, written or oralo express or implied, with any person or
                                  entity concerning the amount of compensation paid or to be paid from
                                  the Receivership Estate, or any sharing thereof.
     2

     J             61. At the close of the Receivership, the Receiver shall submit a Final Accounting, in a
     4    format to be provided by SEC staff, as well as the Receiver's final application for compensation and

     5    expense reimbursement.

     6                                          Xry. Powers of the Monitor
     7             62.    The Monitor shall be empowered to:

     8
                          A.      Have full and complete access to each of the Monitorship Defendants' and the
                                  Monitorship Relief Defendant's books and records, including internal records
     9
                                  as. well as bank, financial institution and other records, but eicluding attorney-
                                  client communications between the Monitorship Defendants and the-ir
 l0                               respective counsel;
 il                      B.      Have full and complete access_to the principals, officers, employees, agents,
                                 and consultants of each of the Monitorship Defendants and tire l4onitoiship'
t2                               Relief Defendant, or anyone else who is olherwise associated with those
                                 entities to carry_out the Monitor's assignment, except that no one shall be
l3
                                 ryqyired to disclose. attorney.client communications between the Monitorship
                                 Defendants and their respective counsel;
l4
l5
                         C.      Have full and complete access to the counterparties to any contracts of the
                                 Monitorship D.efendants and the Monitorshif nelief Defendant, for the purpose
                                 of evaluating the terms of the contract including whether the contractuai
t6                               relationship would be disrupted by converting t-he Monitor to a Receiver over
                                 that entity;
t7

l8
                         D.      Review and monitor a report prepared every two weeks of all transactions of
                                 any Monitorship Defendants or the Monitoiship Relief Defendant;
l9                       E.      Enter into any and all offices and premises and facilities maintained or
20
                                 panaged by any ofthe NloqttopttLp Defendants or the Monitorship Relief
                                 Defendant, except those facilities fbr which additional credentials'are
                                 necessary (and Monitor Defendants and/or Monitor Relief Defendants shall
2l                               assist the Monitor in obtaining the necessary additional credentials if so
                                 requested);
22

23
                         F.      I^dentify and-locate all money,-a,ssets, real property, and investments held by, or
                                                                                                                '
                                 for_the benefit of each of the MonitorshipDefendants and the Monitorship
                                 Relief Defendant;
24

25
                         G.      Identify and locate all investors and owners in each of the Monitorship
                                 Defendants and the Monitorship Relief Defendant;
26                       H.      Identify all debts, accounts payable, liabilities and unpaid obligations of the
                                 Monitorship Defendants and the Monitorship Relief Defendani;
27

28
                         I.      Engage and employ the same persons as those employed in her capacity as
                                 Receiver to assist her in carrying out her duties and r6sponsibilitiei as I\4onitor,
         [PRoposED] ORDERAPPT.   RrcsrvpReno                 15                                CASENO. 3:17-cv_00223
         MourtoR
        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 37 of 54
         Case 3:17-cv-00223-RS Document 100 Filed 031291L7 Page L7 of LB


                              including, but not limited to, accountants, attorneys, securities traders,
 I                            registered representatives, financial or business advisers, liquidating agents,
                              real estate agents, forensic experts, brokers, traders, or auctioneers;
 2

 J
                     J.       Contact any of the EB-5 investors associated with any the Monitorship
                              Defendants and Monitorship Relief Defendant or, if they are represented,
                              counsel for such investors;
 4
                     K. ,     Apply to the Court for an order compelling compliance with this Order or
 5                            seeking a modification of this Order.
 6                                   XV. Fees and Expenses of the Monitor
 7             63. The Monitor is authorized to employ the same persons and entities she employs as
 8   Receiver to assist her in carrying out her duties and responsibilities as Monitor. The Monitor shall

 9   not engage any such persons or entities without first obtaining an Order from the Court authorizing

10   such engagement.

ll             64. The Monitor and anyone she employs pursuant to Paragraphs 62 and 63 are entitled to
t2 reasonable compensation and expense reimbursement. Such compensation shall require the prior
l3   approval of the Court.

t4             65. The Monitorship Defendants and the Monitorship Relief Defendant shall eaph pay,
l5   upon approval of this Court as set forth below, the reasonable costs, fees and expenses of the Monitor

l6 incurred in connection with the performance of the powers and duties described herein related to their
17   respective businesses, as identified by the Monitor, including but not limited to such costs, fees and

18   expenses of all persons retained by the Monitor with the Court's approval to assist in carrying out the

t9   Monitor's powers and duties. All applications for costs, fees and expenses of the Monitor and those
20   employed by the Monitor shall be made by application to the Court, with notice to all parties and an

21   opportunity to be heard, setting forth in reasonable detail the nature ofsuch costs, fees, and expenses.

22   Such applications shall be submitted quarterly at the same time as the applications made by the

23   Receiver.

24                                          XVI. Liabilitv of Monitor
25             66, The Monitorship Defendants and Monitorship Relief Defendant shall indemnify,
26   defend and hold harmless the Monitor and her agents, employees, consultants, successors, and

27   assigns, from and against all actions (pending or threatened and whether at law or in equity in any

28   forum), liabilities, damages, losses, costs, and expenses, including but not limited to reasonable
     [Pnoroseo] Onosn Appr. RECEIVER AND                 16                                CASE No. 3:17-cv-00223
     MONIToR
          Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 38 of 54
            Case 3:17-cv-00223-RS Document l-00 Filed 031291L7 Page 18 of 18



  I    attorneys' and other professionals' fees, arising from the conduct or omission of the Monitor or her

  2    agents, employees and consultants under the terms of this Order, except for any such conduct or

  J    omission adjudged by the Court to be the result of gross negligence or willful misconduct.

  4                                          XVII. Bankruntcy Filins
  5              67.   The Monitorship Defendants and Monitorship Relief Defendant are each hereby

  6    enjoined from filing a voluntary petition in bankruptcy without at least five days' notice to the

  7    Monitor, to the SEC (by notice to the attorneys appearing on the SEC's behalf in this matter), and to
  8    the Court. Upon receiving such notice, the Monitor or the SEC may seek appropriate expedited relief

  9    from this Court.

10                                            XV[I. Binding Notice
11            68.      In accordance with Rule 65(d) of the Federal Rules of Civil Procedure, this Order shall
t2     be binding upon all parties to this action and upon all persons who receive actual notice of it through

l3     personal service or otherwise.

l4
15
              IT IS SO ORDERED.
t6
t7
l8
19
       DATED March 29          2017
20                                                   Richard Seeborg
                                                     UNITED STATES DISTRICT ruDGE
2l
,).,


23

24

25

26

27

28

       [PRoposED] ORopn Appr, RECEIVER AND               t7                               CASE No. 3:17 -cv-00223
       MoNIToR
          Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 39 of 54




                              EXIIIBIT 2


009s89.0024\s694303. I
                                         Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 40 of 54
                                           Case 3:17-cv-00223-RS Document 482 Filed O9l24lI8 Page 1 of 3



                                    I   Elizabeth Berke-Dreyfuss (Bar No. I 14651)
                                        Tracy Green (Bar N<i. 114S76)
                                2       WENDEL, ROSEN, BLACK & DEAN LLP
                                        I I l1 Broadway, 24th Floor
                                3       Oakland, California 9 4607 -403 6
                                        Telephone: (510) 834-6600
                                4       Fax: (510) 834-1928
                                        Email : edreyfuss@wendel.com
                                5       Email : tgreen@wendel.com

                                6       Attorneys for Susan L. Uecker, Receiver

                                7

                                8
                                                                     UNITED STATES DISTRICT COURT
                                9
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                               l0
                                                                          SAN FRANCISCO DIVISION
                               l1
 o.
 J
 J                             I2
 Es                                     SECURITIES AND EXCHANGE                         Case No. 3: 1 7-CV-00223-RS
                                        COMMISSION,
                               l3
 "d:3
 txs
 o;.!                          t4                     Plaintiff,
 cog:
 oed                                           VS                                       IWORDER(I)
 o_!                           15
 A:!                                                                                    APPROVING PROPOSED CLAIM FORM
 o-3                              SAN FRANCISCO REGIONAL CENTER, LLC;                   FOR NON-EB-s INVESTMENT CLAIMS
 o
 c                             t6
 o                                THOMAS M. HENDERSON; CALIFORNIA                       AGAINST RECEIVERSHIP ENTITIES;
 E
                               t7 GOLD MEDAL, L.P.; CALLSOCKET, L.P.;                   (2) SETTING A CLAIMS BAR DATE FOR
                                  CALLSOCKET II, L.P.; CALLSOCKET III,                  SUBMISSION OF NON-EB-s
                                  L.P.; COMPREHENSIVE CARE OF                           INVESTMENT CLAIMS; (3)
                               l8 OAKLAND,
                                              L.P.; NA3PL, L.P.; WEST                   ESTABLISHING SUMMARY
                               t9 OAKLAND     PLAZA,  L.P.; CALLSOCKET,                 PROCEDURES FOR RESOLUTION OF
                                  LLC; CALLSOCKET II, LLC; CALLSOCKET                   DISPUTED CLAIMS
                               20
                                  III, LLC; COMPREHENSIVE CARE OF
                                  CALIFORNIA, LLC; IMMEDIA, LLC; and                    AS MODIFIED BY THE COURT
                                  NORTH AMERICA 3PL,LLC,
                               2t
                                                      Defendants,
                               22
                                                      -and-                             Date:    September 27,2018
                               23
                                                                                        Time:    1:30 p.m.
                                        CALLSOCKET HOLDING COMPANY, LLC;                Place:   Courtroom 3, 17th Floor
                               24
                                        CALLSOCKET III HOLDING COMPANY,                          450 Golden Gate Ave.
                               25
                                        LLC; BERKELEY HEALTHCARE                                 San Francisco, CA 94102
                                        DYNAMICS, LLC; CENTRAL CALIFORNIA               Judge:   The Hon. Richard Seeborg
                                        FARMS, LLC; and JL GATEWAY, LLC,
                               26

                               27
                                                     Relief Defendants.

                               28


                                                                                     EXHIBIT 2
009589.0024\52   I 6897.   I
                                        twlORDER                                                                      3:17-CV-00223-RS
                             Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 41 of 54
                                 Case 3:L7-cv-00223-RS Document 482 Filed 09/241L8 Page 2 of 3




                         1           This matter came before the Court on the Receiver Susan Uecker's Motion for Order (1)

                         2   Approving Proposed Claim Form for Claims Against Receivership Entities For Non-EB-5
                         a
                         J   Investment Claims; (2) Setting a Claims Bar Date for Submission of Claims (Other Than EB-5

                         4   Investment Claims); (3) Establishing Summary Procedures for Resolution of Disputed Claims

                         5   ("Claim Process Motion"). The Court, having considered the Claims Process Motion, all

                         6   submissions filed in support of and in response thereto, and other pleadings filed in this action,

                         7   und finding that good cause exists to grant the motion, hereby orders as follows:

                         8           1.     The Claim Process Motion is granted.

                         9           2.     The Claim Form and Instructions attached as Exhibit A and the form of notice for

                        l0 publication attached as Exhibit B to the Declaration of Susan L. Uecker filed in Support of the
                        11   Claims Process Motion are approved.
(L
)
J
                        l2           3.     Other than claims of EB-5 investors arising from their EB-5 investment, the
Fe
                        l3 deadline to submit Claim Forms to the Receiver shall be the first business day that is 60 days after
"d:3
!-*!
 6 --.q
r9;                     t4 the entry of this order (ooClaims Bar Date"), with the Receiver to include the actual calculated date
oed
o_!                     15   in all notices and to file notice of such date with the Court. Any claim submitted after the Claims
oa:F
od
E
c                       t6 Bar Date will be barred, except for claims of EB-5 investors arising from their EB-5 investment
o
B
                        t7 which are preserved and deferred.

                        18          4.      Disputes regarding claim amounts will be determined by this Court using summary

                        t9   procedures as follows:

                        20                  (a)       The Receiver will evaluate claims received by the bar date against the

                        2l   records of the Receivership Entities, the documents submitted with the claims, and other available

                        22   sources. If, after completing the review, the Receiver does not accept the claimant's asserted

                        23   claim amount, the Receiver will provide written notice to the claimant of the objection and the

                        24   basis therefore, and the Receiver's proposed claim amount. The Receiver will attempt to confer

                        25   with the claimant in an effort to resolve the claim dispute.

                        26                  (b)       As may be necessary and appropriate, the Receiver and claimants may seek

                        27   Court authority to conduct discovery pursuant to the Federal Rules of Civil Procedure and Local

                        28   Rules to assist in resolution of any claim dispute.


009589 0024\5216897 |
                             IPROPOSEDI ORDER                                      2                                3:17-CV-00223-RS
                                    Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 42 of 54
                                       Case 3:l-7-cv-00223-Rs Document 482 Filed 09/24lL8 Page 3 of 3




                                1                  (c)    If differences or objections cannot be resolved informally, the Receiver will
                                2   submit a motion pursuant to Local Rule 7 for the Court's determination. Motions may take the

                                J   form of an omnibus objection motion or independent motions.

                                4                  (d)    In any such motion, the Receiver will identify the portion of the claim that

                                5   she believes is unobjectionable, the proposed allowed amount, and the factual and legal basis for

                                6   the Receiver's objection to the remaining claim amount. The Receiver will serve all relevant

                                7   claimants with the motion papers.

                                8                  (e)    Each claimant may file a response to the motion, and the Receiver may file

                                9   a reply as provided by the Local Rules.

                               10                . (0     To the extent that the Receiver's objections to claims have similar bases and

                               1l   can be grouped according to the nature of the claim objections, groups of claims may be
o
J
J                              t2   determined in consolidated summary proceedings. In all events, the Receiver will provide each
Es
                               t3   claimant detailed notice about the nature of the objection and opportunity to respond.
"-"H
;x3
6;I                            l4          IT IS SO ORDERED.
mg;
6   E3
a6
o_!
        -
                               15   DATED: September 21, 2018
o,;E
OA
E-
c                              t6
o
B
                               17
                                                                                  Richard Seeborg
                               18                                                 Judge, United States District Court

                               t9

                               20

                               2l
                               22

                               23

                               24

                               25

                               26

                               27

                               28


009589.0024\52   I 6897.   I
                                    IPROPOSED] ORDER                                  J                                  3:17-CV-00223-RS
             Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 43 of 54




                                 EXHIBIT 3


009 589.0024\5 67 7 | 52.1
                      Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 44 of 54
                                                                  Non-lnvestor Claims
                                                                      EXHIBIT 3A




                                                   All Submitted Claims Without Designation As
                                           Disputed, Objected To, All'owed, Disallowed, or Subordinated


                                      Accu-Tech Corporation


                                      Adva ntag e Environmetal & Safety Services, lnc


                                      Advantag e Environmetal & Safetv Services, lnc
                                      AmTrust North America, lnc.
                                      on behalf of Wesco lnsurance Company
                                      AmTrust North America, lnc.
                                      on behalf of Security National lnsurance Company
                                      AmTrust North America, lnc.
                                      on behalf of       National lnsurance Com
                                      AmTrust North America, lnc.
                                      on behalf of Security National lnsurance Company


                                      Angel Keene


                                       Casalina & Disston


                                       Clement Chin


                                       Clement Chin


                                       Clement Chin


                                       Clement Chin


                                       Clement Chin


                                       Darius Meyka deh (Copymat)


                                       Ever-Clean Buildine Maintenance


                                       Haynie & Company


                                       i4Color, lnc.


                                      J. C. Phelan and Son



                                                                                                      EXHIBIT 3A
                                                                                                                   1
FedRec/DistributionPlan/Exhibit 3A-Non-lnvestor Claims-REVISED-DsitributionPlan-toEBD-112119
                         Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 45 of 54
                                                                             Non-lnvestor Claims
                                                                                    EXHIBIT 3A




                                                         All Submitted Claims Without Designation As
                                                  Disputed, Objected To, Allowed, Disallowed, or Subordinated


                                             Ken Marg, Successor to SkYte c Security Services, LLC


                                             Kevin Shimamoto


                                             Kevin Shimamoto


                                             Kevin Shimamoto


                                             Kevin Shimamoto


                                             Kevin Shimamoto


                                             Kevin Shimamoto


                                             Kevin Shimamoto


                                             Kevin Shimamoto Clement Chin, Jennifer Bronson


                                              Kyle Shimamoto


                                              Pritzker Levine LLP


                                              Red Star Holdines, LLC


                                              R.P. Gallagher Associates, lnc.


                                             SRI Nine Market Square LLC


                                             State of California Franchise Tax Board


                                             State of lndiana


                                             State Water Resources Control Board


                                             TechCompos e Solutions PVT. Ltd


                                             Tipton Communitv Service District


                                             Valley Pump & Dairy Svstem, lnc.


                                                                                                                EXHIBIT 3A
                                                                                                                             2
Fed Rec/Distribution   Pla n/Exhibit 3A- Non-l nvesto r Clai ms-REVIS E D-Dsitribution Pla n-to EB D-112 1 19
                        Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 46 of 54
                                                                         Non-lnvestor Claims
                                                                                EXHIBIT 3A


                                                                  UNSLCUKEU CKEUI I UK NAME
                                                       All Submitted Claims Without Designation As
                                                Disputed, Objected To, Allowed, Disallowed, or Subordinated


                                           VCom Solutions


                                           Vortex lndustries, lnc.


                                           Vortex lndustries, lnc


                                           WOMAC Properties lnc.




                                                                                                         EXHIBIT 3A

Fed Rec/Distribution Pla n/Exhi bit 3A-Non-l nvestor Clai ms-REVISE D-Dsitribution Pla n-to EBD-112119
Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 47 of 54


              ENTITY       LAST NAME       FIRST NAME
           CallSocket LP   CHEN            SHAOLIN
           CallSocket LP   DU             CHAO
           CallSocket LP   FAN             SHUYI
           CallSocket LP   GUO            WENJING
           CallSocket LP   HAN            YUJING
           CallSocket LP   JIANG          YUHUA
           CallSocket LP   LI             FENG
           CallSocket LP   LI             HONGMEI
           CallSocket LP   LI             XIAOPING
           CallSocket LP   LIU            QI
           CallSocket LP   LU             CHUAN
           CallSocket LP   LUO            LI
           CallSocket LP   MA             SONGJUN
           CallSocket LP   MA             WENLI
           CallSocket LP   MA             XIAO
           CallSocket LP   QU             YAN
           CallSocket LP   RAJAN          RANJEET
           CallSocket LP   SHAO           GANG
           CallSocket LP   SU             HAIMING
           CallSocket LP   SUN            WENJING
           CallSocket LP   TIAN           ZHIQIANG
           CallSocket LP   WANG           LUWEI
           CallSocket LP   WANG           WEI
           CallSocket LP   WANG           XUEBIN
           CallSocket LP   WEI            JIANJUN
           CallSocket LP   WU             YIFAN
           CallSocket LP   XIANG          JT]N
           CallSocket LP   XU             BO
           CallSocket LP   YANG           BIN
           CallSocket LP   YU             JIFENG
          CallSocket LP    YUAN           ZHILIN
          CallSocket LP    ZENG           XIANG
          CallSocket LP    ZHANG          JING
          CallSocket LP    ZHANG          SHUHONG
          CallSocket LP    ZHAO           HONG




                            EXHIBIT 3B
Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 48 of 54


              ENTITY           LAST NAME         FIRST NAME
          CallSocket II   LP   GUPTA             AJAY
          CallSocket II   LP   ZHUANG            YU
          CallSocket II LP     NI                YILING
          CallSocket II   LP   LI                XIN
          CallSocket II LP     CAI               MENG
          CallSocket II   LP   XUE               JING
          CallSocket II LP     GUI               HONGMIN
          CallSocket II LP     WANG              JIANXIN
          CallSocket II LP     XIN               CHLTNJIAN
          CallSocket II LP     NI                PING
          CallSocket II LP     FANG              XILIN
          CallSocket II LP     ZHU               HONGMING
          CallSocket II LP     MA                YUHONG
          CallSocket II LP     XU                XIAOPING
          CallSocket II LP     LI                XIAOJLTN
          CallSocket II LP     TANG              SENJING
          CallSocket II LP     CAO               YINYUN
          CallSocket II LP     LIU               SUNHAI
          CallSocket II LP     PENG              WENBIN
          CallSocket II LP     TAN               WENBIN
          CallSocket II LP     ZHU               NAN
          CallSocket II LP     LI                ZHEN LIAN
          CallSocket II LP     ZHANG             XIAOTING
          CallSocket II LP     HUANG             ZHENGHUI
          CallSocket II LP     KOU               YUANYUAN
          CallSocket II LP     LUO               RONG
          CallSocket II LP     MA                LI
          CallSocket II LP     NI                YILAI
          CallSocket II LP     DONG              SHAOYT'N
          CallSocket II LP     YUAN              QINGJIANG




                                           EXHIBIT 3C
Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 49 of 54


             ENTITY          LAST NAME     FIRST NAME

         CallSocket III   LP CHENG         ZHEN
         CallSocket III LP   ZHU           PEIJUN
         CallSocket III LP   LAN           HONGYANG
         CallSocket III LP   LIU           JIALI
         CallSocket III LP SHAOQING        ZENG
         CallSocket III LP   ZHAO          LIXIA
         CallSocket III LP   CHEN          LEI
         CallSocket III LP   PENG          BAOYI
         CallSocket III LP   CHEN          HAO
         CallSocket III LP   HAN           CONGREN
         CallSocket III LP   HU            QIAN
         Callsocket III LP   ZHAO          RONG
         CallSocket III LP   CUI           JINGXUAN
         CallSocket III LP   ZHENG         NAN
         CallSocket III LP   YU            YIQI
         CallSocket III LP   JING YI       YAN
         CallSocket III LP   ZHOU          TAO
         CallSocket III LP   LI            SHENG
         Callsocket III LP   THI HONG DUNG NGUYEN
         CallSocket III LP   ZOU           YONGPING
         CallSocket III LP   PING          HAN
         CallSocket III LP   ZHAO          YT]NHAO
         CallSocket III LP   ZHANG         ZHIRUI
         CallSocket III LP   BING          YE
         CallSocket III LP   YINGQIU       CHEN
         Callsocket III LP   JIANRONG      SLIN
         CallSocket III LP   YU            WANG
         CallSocket III LP   WEIQING       LING
         CallSocket III LP   WEIHUA        V/U
         CallSocket III LP   YANG          XIAOLING
         CallSocket III LP   YAN           CHEN
         CallSocket III LP   NA            HU
         CallSocket III LP   YINGXIN       DONG
         CallSocket III LP   LIN           TANG
         CallSocket III LP   XIAO          XIA
         CallSocket III LP   JIFENG        YANG
         Callsocket III LP   YINGPIN       ZHANG
         Callsocket III LP   YIN JEK       KIAN
         CallSocket III LP   LAN           JIANG




                                         EXHIBIT 3D
Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 50 of 54


           ENTIW      LAST NAME             FIRST NAME
          NA3PL LP    LIU                   YISHA
          NA3PL LP    CHU                   MIN
          NA3PLLP     ZHANG                 JIANMIN
         NA3PL LP     YANG                  BEI
         NA3PL LP     LI                    YUE
          NA3PL LP    ZHANG                 YONGHONG
         NA3PL LP     QU                    YANI
         NA3PL LP     ZHU                   CHUNMEI
         NA3PL LP     JIN                   TAO
         NA3PL LP     LI                    JUN
         NA3PL LP     PAN                   QI
         NA3PL LP     HE                    WENHONG
         NA3PL LP     WU                    TAO
         NA3PL LP     CAO                   YABIN
         NA3PL LP     HUANG                 YANJUN
         NA3PL LP     REN                   LEI
         NA3PL LP     cAo                   XICHEN
         NA3PL LP     ZHANG                 YAN
         NA3PL LP     SONG                  YANXIN
         NA3PL LP     GONG                  RUI
         NA3PL LP     MA                    CHUNHONG
         NA3PL LP     MA                    JIANYUE
         NA3PL LP     NGUYEN                VINH SON
         NA3PL LP     NGUYEN                THI THANH THUY
         NA3PL LP     TU                    THI LAN
         NA3PL LP     HONG                  SASHUANG
         NA3PL LP     DING                  YANQIN
         NA3PL LP     DAI                   WEI
         NA3PL LP     WANG                  QIQI
         NA3PL LP     LU                    KUN
         NA3PL LP     FUDUAN                CHEN
         NA3PL LP     HUANG                 JINGUANG
         NA3PL LP     LI                    CONG
         NA3PL LP     HUANG                 GUIYUAN
         NA3PL LP     LIU                   GAOYUN
         NA3PL LP     TIAN                  SHUANG
         NA3PL LP     XIANG                 JIN
         NA3PL LP     LI                    YURUO
         NA3PL LP     YANG                  SHU
         NA3PL LP     LIU                   SHENGLI
         NA3PL LP     LIANG                 XUECHLIN




                               EXHIBIT 3E
Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 51 of 54


             ENTIW           LAST NAME        FIRST NAME
        West OaklandPlazaLP GU                TAO
        West OaklandPlazaLP ZWJ               XUEHONG
        West OaklandPlazaLP ZHENG             ZHAOXIA
        WestOaklandPlazaLP WANG               YONG




                         I




                                 EXHIBIT 3F
Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 52 of 54


              ENTITY             LAST NAME          FIRST NAME
      Califomia Gold Medal LP    PAN                XIAOQING
      California Gold Medal LP   ZHANG              XIN
      California Gold Medal LP   QIAN               JUN
      California Gold Medal LP   ZHANG              YATING
      California Gold Medal LP   JIA                YUMEI
      California Gold Medal LP   SHAO               JINGYI
      California Gold Medal LP   HE                 LINJIN
      California Gold Medal LP   YU                 XIAODING
      California Gold Medal LP   WU                 XIUCHUN
      Califomia Gold Medal LP    FENG               JIE
      Califomia Gold Medal LP    HUANG              XIAO
      California Gold Medal LP   XIA                TAO
      California Gold Medal LP   WANG               YINGHUI
      California Gold Medal LP   SUI                ZONGYUAN
      California Gold Medal LP   LUAN               QINGPING
      Califomia Gold Medal LP    LI                 WEN




                                       EXHIBIT 3G
             Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 53 of 54



                                           STATEMENT OF CLAIM.INVESTOR
SBcuRTTTBS AND EXCHANGE CoMMISSION VS. SAN FN,q.NCTSCO REGIONAL CENTER ET AL
   United States District Court Northern CA Receivership Case #3:17-cv-00223-RS
PROJECT: Check EB5 Investment Entity:
            Callsocket, L.P.                                  (Claimant Class 3B)
            Callsocket II L.P.                                (Claimant Class 3C)
            Callsocket III L.P.                               (Claimant Class 3D)
            NA3PL L.P.                                        (Claimant Class 3E)
            West OaklandPlazaL.P.                             (Claimant Class 3F)
            California Gold Medal L.P                         (Claimant Class 3G)

INVESTOR NAME:
                                     (Please Print)
INVESTOR WAC #:

INVBSTOR EMAIL ADDRESS:
                                                              (Please Print)

INVESTOR CAPITAL CONTRIBUTION: $                                                                Date Investment Made:

Pursuant to the Receiver's Proposed Distribution Plan, Investors in the above referenced EB5 New
Commercial Enterprise entitiei shall be entitled to an Investor Claim for Capital Contribution up to
$500,000.00. IN Ononn ro lsspnr youn INvnsron Cu.wt AND TO ENSURE RECEIPT OF
PAYMENT, THIS COMPLETED FORM MUST BE RECEIVED BY THE RECEIVER. SUSAN L. UECKER. ON OR
BEFoRE: TIF.CEMRF.R31.20lq
COMPLETED FORM MAY BE EMAILED (suecker@ueckerassoc.com) BUT ORIGINAL FORM MUST BE
RECEIVED AT BELOW ADDRESS BEFORE ANY DTSTRIBUTION MAY BE MADE.

I hereby request any and all Distributions under the Court approved Distribution Plan be
n Wired as follows:                                                       OR                    I Check Mailed USPS as follows:
Beneficiary Name:                                                                               Payee Name:
Beneficiary Account Number                                                                      Mailing Address
Beneficiary Bank Name:
Beneficiary Bank Address:

Beneficiary Bank Routing Number:
Beneficiary Bank Swift Code:


Investor Signature                                                        Print Investor Name

                                      THIS COMPLETED FORM MUST BE ACCOMPANIED BY
                                 NOTARY ACKNOWLEDGEMENT OR EQUIVALENT CERTIFICATION
                                       SUBSTANTIALLY IN ONE OF THE FORMS ATTACHED

RETURN ORIGINAL FORM TO: Susan L. Uecker, Receiver
                         1613 Lyon Street, Suite A
                         San Francisco, California 94115 USA



                                                                                                 EXHIBIT 3H
009589.0024\5575819,1 reanectCreditorClaims/ClaimFormlnvestor-REVIsEDwEBDedits-08l9l9.doc
           Case 3:17-cv-00223-RS Document 711 Filed 12/19/19 Page 54 of 54


                                                                ACKNOWLEDGMENT

State of
County of


On                                    before me,
      (Date)                                                  (insert name and title of the officer)

personally appeared                                                                                    ,
who  provedio   r. tn"
                    on     U*ir  of *tirtu.tory.ruiO.o""   rc be the person(s)  whose name(s)     is/are subscribed to
the within instrument and acknowledged to me that      he/she/they  executed  the same  in  his/her/their  authorized
capacity(ies), and that by his/her/their signature(s) on the instrument the  person(s),  or the  entity  upon behalf of
which the person(s) acted, executed the instrument.

I certiff under PENALTY OF PERJURY under the laws of the State of                                             that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal

Signature                                                                 (Seal)



A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that
document.

                                                                                   OR


                                                                          APOSTILLE


 1         CITY/COUNTY/COUNTRY:
           THIS DOCUMENT
 2         HAS BEEN SIGNED 8Y..........

 3         BEARS THE SEAL/STAMP OF


                                                                           CERTIFIED

 4.        AT                                                              5. THE
 6.        BY
 1         NO.

 8.        SEAL/STAMP                                         9. SIGNATURE




                                                                                                 EXHIBIT 3H
009589,0024\5575819.1   pedneclcreditorClaims/ClaimForm-lnvestor-REVISEDwEBDedits-08l9l9.doc
